Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22           Page 1 of 235 Page ID
                                             #:1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ANETE ROSARIO, ET. AL.,                       §
                                              §
                Plaintiffs,                   §
                                              §
v.                                            §       CASE NO.
                                              §
FORD MOTOR COMPANY,                           §
                                              §
                Defendant                     §       JURY TRIAL DEMANDED

              PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiffs identified below hereby file the instant Original Complaint and Jury Demand

against Defendant Ford Motor Company and respectfully show the Court as follows:

                                        INTRODUCTION

       1.       This case arises out of Ford Motor Company’s global marketing and sale of

approximately 1.5 Million 2011-2016 Ford Fiesta motor vehicles and 2012-2016 Ford Focus motor

vehicles (the “Vehicles”), which were equipped with an unsafe and defective transmission known

as the “DPS6 PowerShift Transmission” (the “PowerShift Transmission” or the “DPS6”).

       2.       Ford Motor Company (“Ford” or “Defendant”) sold the Vehicles to the Plaintiffs

named herein.

       3.       As a result of the plethora of defects plaguing the PowerShift Transmissions in

these vehicles, Ford violated its statutory and common law warranty and disclosure obligations for

the Vehicles sold or leased to Plaintiffs, each of which was subject to a written warranty issued by

Ford. Ford breached its express and implied warranties, violated the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301, et seq., committed fraud, and violated various state unfair trade practices

acts across the nation, as alleged herein.




                                                  1
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22             Page 2 of 235 Page ID
                                             #:2



       4.      Plaintiffs generally allege, as more fully set forth herein, that Ford (whether directly

or through its authorized repair facilities) failed to repair Plaintiffs’ vehicles to conform to Ford’s

written warranty after a reasonable number of opportunities or within a reasonable amount of time.

Moreover, Ford failed to promptly replace Plaintiffs’ vehicles or make restitution for those

vehicles. Plaintiffs further allege that their vehicles were unmerchantable at the time of sale or

lease, and unfit for their intended use, and thereby failed to conform to the representations on the

vehicle’s label. Plaintiffs also generally allege that Ford concealed one or more known defects at

the time of sale (and thereafter), and affirmatively misrepresented the vehicle’s qualities at the

time of sale, thereby inducing Plaintiffs into the purchase or lease of said vehicles.

       5.       The DPS6-equipped Ford Focus and Fiesta vehicles were dangerous to consumers

and the public because the defective DPS6 could and did cause such vehicles to lose power

unexpectedly while driving (referred to as an “unintended neutral event” or “loss of motive

power”); jerk and buck erratically, and otherwise fail in ways that reportedly could and did cause

accidents and injuries (even fatalities) (aforementioned problems collectively referred to as

“Transmission Defects”).

       6.      Plaintiffs are informed and believe, and on that basis allege, that Ford knew before

the initial launch of DPS6-equipped vehicles, and at all times since, that the defects in the

PowerShift Transmission made the vehicles defective and dangerous; furthermore, Ford knew that

such DPS6-equipped vehicles did not and could not comply with Ford’s warranty obligations or

with Plaintiffs’ reasonable expectations.

       7.      Plaintiffs are informed and believe, and on that basis allege, that Ford told one or

more suppliers of DPS6 components that the DPS6 PowerShift Transmissions were dangerously

defective and that said defect was irreparable; furthermore, Ford demanded one or more suppliers



                                                  2
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 3 of 235 Page ID
                                            #:3



compensate Ford for increased warranty costs related to the DPS6. Meanwhile, Ford continued to

sell vehicles equipped with the DPS6 PowerShift Transmission.

       8.      Plaintiffs are informed and believe, and on that basis allege, that Ford and its

suppliers ultimately entered into one or more secret agreements, negotiated at the highest levels of

Ford’s management, whereby the supplier(s) paid Ford hundreds of millions of dollars for

increased warranty costs that Ford incurred due to the DPS6 defects. Despite the payoff Ford

received, Ford fraudulently concealed the known defects with the DPS6 from third-parties in the

United States (e.g., consumers including Plaintiffs, governmental regulators such as the U.S.

National Highway Safety Administration (“NHTSA”)) and abroad (e.g., the Australian Consumer

and Competition Commission (“ACCC”)).

       9.      Ford affirmatively misrepresented to Plaintiffs, consumers and regulators that the

DPS6’s aberrant operations were “normal operating characteristics” and that there was nothing

wrong with the transmission, consistent with Ford’s secret settlement deal. To this day, Ford

continues to deny the defects in the DPS6-equipped Focus and Fiesta vehicles even though it was

forced to admit the contrary in a consent decree in a regulatory proceeding by the ACCC, which

is part of the public record of that Australian regulatory agency, and which resulted in Ford paying

an (AUS) $10 million penalty/fine for engaging in unconscionable conduct regarding DPS6-

equipped Focus and Fiesta vehicles. See https://www.accc.gov.au/media-release/court-orders-

ford-to-pay-10-million-penalty-for-unconscionable-conduct (last visited February 8, 2022).

       10.     Ford’s corporate misconduct and fraud are alleged in greater detail below, with

specific references to, and quotations from, Ford’s own internal corporate documents.




                                                 3
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 4 of 235 Page ID
                                            #:4



                                            PARTIES

                                      TEXAS PLAINTIFFS

       11.     Plaintiff Anete Rosario (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Texas, who purchased a 2014 Focus VIN 1FADP3J29EL460543 in Texas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.



                                                 4
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 5 of 235 Page ID
                                            #:5



       12.     Plaintiff Deanna Rose (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Texas, who purchased a 2011 Fiesta VIN 3FADP4EJ9BM111772 in Texas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       13.     Plaintiff Robin Ross (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Texas, who purchased a 2011 Fiesta VIN 3FADP4FJ7BM186212 in Texas. Plaintiff’s vehicle



                                                 5
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 6 of 235 Page ID
                                            #:6



was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       14.     Plaintiff John Roth (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Texas, who purchased a 2016 Focus VIN 1FADP3K21GL205256 in Texas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 6
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 7 of 235 Page ID
                                            #:7



mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       15.     Plaintiff Tranicia Rubin (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ0DM132209 in Texas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 7
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 8 of 235 Page ID
                                            #:8



touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       16.     Plaintiff Arturo Ruiz (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Texas, who purchased a 2014 Focus VIN 1FADP3K25EL177569 in Texas. Plaintiff’s vehicle was

equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 8
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 9 of 235 Page ID
                                            #:9



and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

       17.     Plaintiff Alyssa Russell (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Texas, who purchased a 2014 Focus VIN 1FADP3N20EL348482 in Texas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 9
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 10 of 235 Page ID
                                            #:10



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        18.     Plaintiff Eduardo Salazar (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3K28EL430271 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  10
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 11 of 235 Page ID
                                            #:11



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        19.     Plaintiff Luis Salazar (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3K29DL210099 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  11
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 12 of 235 Page ID
                                            #:12



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        20.     Plaintiff Micaela Salazar (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3K21FL245058 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  12
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 13 of 235 Page ID
                                            #:13



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        21.     Plaintiff Analisa Saldivar (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Fiesta VIN 3FADP4BJ7EM156945 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  13
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 14 of 235 Page ID
                                            #:14



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        22.     Plaintiff Manuel Saldivar (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New Hampshire, who purchased a 2014 Focus VIN 1FADP3F27EL175171 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




                                                  14
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 15 of 235 Page ID
                                            #:15



 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        23.     Plaintiff Sadie Salinas (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Fiesta VIN 3FADP4BJ4EM139407 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  15
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 16 of 235 Page ID
                                            #:16



        24.     Plaintiff Vanessa and Jerry Salinas (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Texas, who purchased a 2011 Fiesta VIN 3FADP4BJ8BM132469 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        25.     Plaintiff Joe San Miguel Sr. (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3K21EL130216 in Texas. Plaintiff’s



                                                  16
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 17 of 235 Page ID
                                            #:17



 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        26.     Plaintiff Herlinda Sanchez (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2016 Focus VIN 1FADP3K22GL205752 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



                                                  17
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 18 of 235 Page ID
                                            #:18



 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        27.     Plaintiff Juan Sanchez (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3K24CL356944 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  18
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 19 of 235 Page ID
                                            #:19



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        28.     Plaintiff Sasha Sanchez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F29EL398473 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  19
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 20 of 235 Page ID
                                            #:20



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        29.     Plaintiff Gregory Sanders (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3K20CL422180 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  20
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 21 of 235 Page ID
                                            #:21



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        30.     Plaintiff Ray Sauter (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3K27EL281089 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  21
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 22 of 235 Page ID
                                            #:22



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        31.     Plaintiff James Saxton (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Louisiana, who purchased a 2012 Fiesta VIN 3FADP4BJ4CM170590 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  22
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 23 of 235 Page ID
                                            #:23



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        32.     Plaintiff Tonya Schaubert (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F26EL278436 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  23
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 24 of 235 Page ID
                                            #:24



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        33.     Plaintiff Mickey Schenk (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F21DL125901 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  24
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 25 of 235 Page ID
                                            #:25



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        34.     Plaintiff Karen Schrock (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of North Carolina, who purchased a 2014 Focus VIN 1FADP3E26EL340631 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




                                                  25
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 26 of 235 Page ID
                                            #:26



 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        35.     Plaintiff Linda Schwartz (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3F24CL142336 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  26
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 27 of 235 Page ID
                                            #:27



        36.     Plaintiff Kiley Seagraves (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3E20FL280704 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        37.     Plaintiff Jodi Seaney (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F2XCL329774 in Texas. Plaintiff’s vehicle



                                                  27
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 28 of 235 Page ID
                                            #:28



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        38.     Plaintiff Lori Seel (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Indiana, who purchased a 2014 Fiesta VIN 3FADP4AJ0EM110701 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                  28
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 29 of 235 Page ID
                                            #:29



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        39.     Plaintiff Raul Segovia (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F24CL272892 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  29
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 30 of 235 Page ID
                                            #:30



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        40.     Plaintiff Anthony Segura (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F23EL278412 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  30
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 31 of 235 Page ID
                                            #:31



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        41.     Plaintiff John Serrao (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Washington D.C., who purchased a 2013 Focus VIN 1FADP3K24DL349783 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



                                                  31
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 32 of 235 Page ID
                                            #:32



 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        42.     Plaintiff Aaron Shaner (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 South Carolina, who purchased a 2012 Focus VIN 1FAHP3H20CL394792 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



                                                  32
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 33 of 235 Page ID
                                            #:33



 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        43.     Plaintiff Melissa Shaw (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3N26EL195753 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  33
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 34 of 235 Page ID
                                            #:34



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        44.     Plaintiff Regina Sheffield (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4EJ9DM194025 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  34
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 35 of 235 Page ID
                                            #:35



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        45.     Plaintiff Virginia Sheppard (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Pennsylvania, who purchased a 2013 Focus VIN 1FADP3J2XDL103631 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



                                                  35
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 36 of 235 Page ID
                                            #:36



 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        46.     Plaintiff Ladonna Sherwood (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2012 Fiesta VIN 3FADP4EJ5BM207253 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




                                                  36
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 37 of 235 Page ID
                                            #:37



 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        47.     Plaintiff Ladonna Sherwood (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2011 Fiesta VIN 3FADP4EJ9BM154170 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



                                                  37
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 38 of 235 Page ID
                                            #:38



        48.     Plaintiff Wesley Sherwood (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3K29EL123174 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        49.     Plaintiff Everson Shields (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Fiesta VIN 3FADP4AJ2EM211805 in Texas. Plaintiff’s vehicle



                                                  38
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 39 of 235 Page ID
                                            #:39



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        50.     Plaintiff Stephanie Shively (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3E24EL253908 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



                                                  39
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 40 of 235 Page ID
                                            #:40



 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        51.     Plaintiff Douglas Shock (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FASP3N23EL320904 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  40
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 41 of 235 Page ID
                                            #:41



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        52.     Plaintiff Heather Shults (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2014 Focus VIN 1FADP3K28EL271313 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  41
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 42 of 235 Page ID
                                            #:42



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        53.     Plaintiff Robert Shuster (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3N2XCL403051 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  42
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 43 of 235 Page ID
                                            #:43



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        54.     Plaintiff Jesus Sifuentes III (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2016 Focus VIN 1FADP3F21GL315007 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



                                                  43
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 44 of 235 Page ID
                                            #:44



 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        55.     Plaintiff Jesus Sifuentes III (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2015 Focus VIN 1FADP3F25FL340880 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



                                                  44
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 45 of 235 Page ID
                                            #:45



 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        56.     Plaintiff Garrick Sillaway (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3F21CL400599 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  45
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 46 of 235 Page ID
                                            #:46



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        57.     Plaintiff Amalia Silva (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Fiesta VIN 3FADP4AJ9EM195750 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  46
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 47 of 235 Page ID
                                            #:47



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        58.     Plaintiff Jacqueline Silva (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Fiesta VIN 3FADP4FJ0CM145888 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                  47
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 48 of 235 Page ID
                                            #:48



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        59.     Plaintiff Fredrick Simpson (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3J26DL289877 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



                                                  48
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 49 of 235 Page ID
                                            #:49



        60.     Plaintiff William Sims (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F29EL440446 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        61.     Plaintiff Christi Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F25EL325942 in Texas. Plaintiff’s vehicle was



                                                  49
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 50 of 235 Page ID
                                            #:50



 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        62.     Plaintiff Denise Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ1DM225501 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                  50
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 51 of 235 Page ID
                                            #:51



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        63.     Plaintiff Graciela Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F28EL451518 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  51
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 52 of 235 Page ID
                                            #:52



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        64.     Plaintiff Jimmie Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3F24DL301078 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  52
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 53 of 235 Page ID
                                            #:53



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        65.     Plaintiff Joe Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3N23CL449367 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  53
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 54 of 235 Page ID
                                            #:54



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        66.     Plaintiff Precious Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3F20FL356615 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  54
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 55 of 235 Page ID
                                            #:55



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        67.     Plaintiff Shawn Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Ohio, who purchased a 2014 Fiesta VIN 3FADP48JXEM195822 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  55
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 56 of 235 Page ID
                                            #:56



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        68.     Plaintiff Tranaesha Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2016 Fiesta VIN 3FADP4BJ5GM190868 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  56
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 57 of 235 Page ID
                                            #:57



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        69.     Plaintiff Victor Soler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F24EL208367 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  57
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 58 of 235 Page ID
                                            #:58



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        70.     Plaintiff Brandie Sonnenburg (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2016 Fiesta VIN 3FADP4BJ9GM175063 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




                                                  58
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 59 of 235 Page ID
                                            #:59



 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        71.     Plaintiff Stephanie Sourile (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ3DM225385 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



                                                  59
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 60 of 235 Page ID
                                            #:60



        72.     Plaintiff Anthony Spearman (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ9DM144147 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        73.     Plaintiff Jeffrey Spence (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3M24CL393697 in Texas. Plaintiff’s vehicle



                                                  60
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 61 of 235 Page ID
                                            #:61



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        74.     Plaintiff Christian Spencer (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ6DM207771 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



                                                  61
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 62 of 235 Page ID
                                            #:62



 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        75.     Plaintiff Abram Spillman (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Oklahoma, who purchased a 2014 Focus VIN 1FADP3F2XEL261185 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



                                                  62
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 63 of 235 Page ID
                                            #:63



 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        76.     Plaintiff Teresa Spurger (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Fiesta VIN 3FADP4BJ8CM158460 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  63
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 64 of 235 Page ID
                                            #:64



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        77.     Plaintiff Joshua Stallings (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3E25CL473122 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  64
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 65 of 235 Page ID
                                            #:65



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        78.     Plaintiff Sandra Stanley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2011 Fiesta VIN 3FADP4FJ2BM156700 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  65
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 66 of 235 Page ID
                                            #:66



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        79.     Plaintiff Buddy Starling (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FABP3K23EL149253 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  66
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 67 of 235 Page ID
                                            #:67



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        80.     Plaintiff Timothy Steele (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3J26CL329519 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  67
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 68 of 235 Page ID
                                            #:68



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        81.     Plaintiff James Stephens (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3K25DL362591 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  68
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 69 of 235 Page ID
                                            #:69



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        82.     Plaintiff Mary Steward (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2017 Focus VIN 1FADP3E2XHL324324 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                  69
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 70 of 235 Page ID
                                            #:70



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        83.     Plaintiff Danny Stewart (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F28EL349135 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  70
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 71 of 235 Page ID
                                            #:71



        84.     Plaintiff Cynthia Stinson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New York, who purchased a 2013 Fiesta VIN 3FADP4BJ3DM204651 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        85.     Plaintiff Sawyer Stone (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2016 Fiesta VIN 3FADP4BJ5GM141038 in Texas. Plaintiff’s vehicle



                                                  71
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 72 of 235 Page ID
                                            #:72



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        86.     Plaintiff Janice Strebe (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2016 Focus VIN 1FADP3F21EL372756 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                  72
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 73 of 235 Page ID
                                            #:73



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        87.     Plaintiff Glennys Stroud (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Fiesta VIN 3FADP4EJ6FM171904 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  73
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 74 of 235 Page ID
                                            #:74



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        88.     Plaintiff Marti Stuart (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4AJXDM157992 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  74
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 75 of 235 Page ID
                                            #:75



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        89.     Plaintiff Robert Suarez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Fiesta VIN 3FADP4FJOEM166050 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  75
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 76 of 235 Page ID
                                            #:76



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        90.     Plaintiff Glenda Supak (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F22EL196154 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  76
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 77 of 235 Page ID
                                            #:77



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        91.     Plaintiff Patrick Surber (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3F2XCL450322 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  77
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 78 of 235 Page ID
                                            #:78



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        92.     Plaintiff Rocky Sustaita (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Fiesta VIN 3FFADP4BJ4FM126562 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  78
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 79 of 235 Page ID
                                            #:79



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        93.     Plaintiff Diamanndo Swainhart (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3F25DL220462 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



                                                  79
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 80 of 235 Page ID
                                            #:80



 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        94.     Plaintiff Diamanndo Swainhart (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ4DM167383 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




                                                  80
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 81 of 235 Page ID
                                            #:81



 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        95.     Plaintiff Marisa Sweeney (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3N28DL 136301 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  81
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 82 of 235 Page ID
                                            #:82



        96.     Plaintiff Alisha Sword (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Arkansas, who purchased a 2011 Fiesta VIN 3FADP4BJ3BM204856 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        97.     Plaintiff Lacey Talash (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Fiesta VIN 3FADP4AJ98M132535 in Texas. Plaintiff’s vehicle



                                                  82
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22              Page 83 of 235 Page ID
                                             #:83



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.         Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.      At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        98.     Plaintiff Kristina Talavera (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Missouri, who purchased a 2014 Fiesta VIN 3FADP4BJ1EM227573 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle



                                                   83
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 84 of 235 Page ID
                                            #:84



 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        99.     Plaintiff Justin Talley (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3K29EL175436 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  84
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 85 of 235 Page ID
                                            #:85



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        100.    Plaintiff Hioe Tan (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2015 Focus VIN 1FADP3N24FL255062 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  85
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 86 of 235 Page ID
                                            #:86



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        101.    Plaintiff Christian Tapia (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F21EL286511 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  86
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 87 of 235 Page ID
                                            #:87



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        102.    Plaintiff Thomas Tarango (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3F22CL367533 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  87
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 88 of 235 Page ID
                                            #:88



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        103.    Plaintiff Anthony Tedmon (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2016 Focus VIN 1FADP3N25GL360615 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



                                                  88
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 89 of 235 Page ID
                                            #:89



 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        104.    Plaintiff Jeremy Tennent (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3H25CL433165 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  89
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 90 of 235 Page ID
                                            #:90



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        105.    Plaintiff Robert Terrell (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3F21FL299535 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                  90
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 91 of 235 Page ID
                                            #:91



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        106.    Plaintiff Hollyann Terry (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F2XEL154881 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                  91
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 92 of 235 Page ID
                                            #:92



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        107.    Plaintiff Jared Terry (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3J24DL351860 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  92
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 93 of 235 Page ID
                                            #:93



        108.    Plaintiff Jeffrey Tesluk (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2016 Fiesta VIN 3FADP4AJXGM193279 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        109.    Plaintiff Lacey Thibault (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F2XEL130497 in Texas. Plaintiff’s vehicle



                                                  93
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 94 of 235 Page ID
                                            #:94



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        110.    Plaintiff Charles Thomas (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F2XEL149258 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                  94
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 95 of 235 Page ID
                                            #:95



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        111.    Plaintiff Jimmie Tigert (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3H28CL363225 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                  95
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 96 of 235 Page ID
                                            #:96



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        112.    Plaintiff Sauileoge Toafa (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F22DL295653 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                  96
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 97 of 235 Page ID
                                            #:97



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        113.    Plaintiff Joan Tolfree (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ8DM172263 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                  97
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 98 of 235 Page ID
                                            #:98



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        114.    Plaintiff Michelle Tom (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F22DL290680 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  98
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 99 of 235 Page ID
                                            #:99



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        115.    Plaintiff Cory Tornik (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Oregon, who purchased a 2013 Focus VIN 1FADP3F22DL291375 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                  99
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 100 of 235 Page ID
                                            #:100



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        116.    Plaintiff Ceasar Torres (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F27EL263864 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  100
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 101 of 235 Page ID
                                            #:101



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        117.    Plaintiff Jessica Torres (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4EJ7DM116696 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 101
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 102 of 235 Page ID
                                            #:102



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        118.    Plaintiff Wendy Toups (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3F25FL261077 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                 102
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 103 of 235 Page ID
                                            #:103



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        119.    Plaintiff Kitty Townes (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F29CL347439 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                 103
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 104 of 235 Page ID
                                            #:104



        120.    Plaintiff John Trago (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3F27DL243547 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        121.    Plaintiff Barbara Truax (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F25EL406486 in Texas. Plaintiff’s vehicle



                                                 104
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 105 of 235 Page ID
                                            #:105



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        122.    Plaintiff Barbara Truax (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3K21CL422401 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 105
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 106 of 235 Page ID
                                            #:106



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        123.    Plaintiff Yvonne Tso (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Illinois, who purchased a 2014 Fiesta VIN 3FADP4EJ4EM217051 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 106
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 107 of 235 Page ID
                                            #:107



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        124.    Plaintiff Danielle Tucker (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3K25CL428654 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 107
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 108 of 235 Page ID
                                            #:108



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        125.    Plaintiff Gretchen Turner (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3K26CL428789 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 108
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 109 of 235 Page ID
                                            #:109



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        126.    Plaintiff Willa Tyler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Fiesta VIN 1FADP3F27EL389920 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                 109
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 110 of 235 Page ID
                                            #:110



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        127.    Plaintiff Willa Tyler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4BJXDM149714 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                 110
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 111 of 235 Page ID
                                            #:111



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        128.    Plaintiff Jason Uhler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3K21EL221602 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                 111
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 112 of 235 Page ID
                                            #:112



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        129.    Plaintiff Matthew Ursery (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4FJ6DM173390 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 112
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 113 of 235 Page ID
                                            #:113



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        130.    Plaintiff Luis Valencia (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2015 Focus VIN 1FADP3M29FL268860 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                 113
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 114 of 235 Page ID
                                            #:114



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        131.    Plaintiff Crystal Valenciana (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of New Mexico, who purchased a 2011 Fiesta VIN 3FADP4BJ2BM226332 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



                                                 114
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 115 of 235 Page ID
                                            #:115



        132.    Plaintiff Carl Valigura (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F2XCL465886 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        133.    Plaintiff Juan Varela (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2011 Fiesta VIN 3FADP4BJ6DM238354 in Texas. Plaintiff’s vehicle



                                                  115
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 116 of 235 Page ID
                                            #:116



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        134.    Plaintiff Mario Vargas (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2015 Focus VIN 1FADP3K20FL261087 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 116
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 117 of 235 Page ID
                                            #:117



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        135.    Plaintiff David Vasquez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F23EL218419 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 117
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 118 of 235 Page ID
                                            #:118



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        136.    Plaintiff David Vaughan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2011 Fiesta VIN 3FADP4EJ1BM196400 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 118
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 119 of 235 Page ID
                                            #:119



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        137.    Plaintiff Jose and Raquel Vazquez (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Texas, who purchased a 2012 Fiesta VIN 3FADP4EJ1CM137638 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



                                                 119
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 120 of 235 Page ID
                                            #:120



 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        138.    Plaintiff Javier Velasquez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3N24EL137527 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                  120
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 121 of 235 Page ID
                                            #:121



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        139.    Plaintiff Dagoberto Ventura (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3E22DL183386 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



                                                 121
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 122 of 235 Page ID
                                            #:122



 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        140.    Plaintiff Tressa Vestal (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F24EL246729 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                  122
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 123 of 235 Page ID
                                            #:123



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        141.    Plaintiff Melvin Vierra (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3M20CL204222 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 123
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 124 of 235 Page ID
                                            #:124



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        142.    Plaintiff Richard Villa (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FAPD3J22EL137595 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                  124
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 125 of 235 Page ID
                                            #:125



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        143.    Plaintiff Jaime Villarreal (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3F23CL466071 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                  125
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 126 of 235 Page ID
                                            #:126



        144.    Plaintiff Jennifer Voan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F25DL195305 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        145.    Plaintiff Doris Vradenburg (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of New York, who purchased a 2013 Focus VIN 1FADP3J21DL183367 in Texas.



                                                 126
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 127 of 235 Page ID
                                            #:127



 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        146.    Plaintiff Donte Walker (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F28DL115057 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 127
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 128 of 235 Page ID
                                            #:128



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        147.    Plaintiff Alexandria Walters (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2016 Focus VIN 1FADP3F21GL252622 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



                                                 128
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 129 of 235 Page ID
                                            #:129



 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        148.    Plaintiff Sonia Walton (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F21CL409528 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 129
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 130 of 235 Page ID
                                            #:130



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        149.    Plaintiff Joseph Wanex (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3K21DL298193 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 130
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 131 of 235 Page ID
                                            #:131



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        150.    Plaintiff Miguel Wasielewski (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2015 Focus VIN 1FADP3F21FL287255 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



                                                 131
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 132 of 235 Page ID
                                            #:132



 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        151.    Plaintiff Benjamin Joel Waters (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Fiesta VIN 3FADP4BJ2EM114148 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



                                                 132
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 133 of 235 Page ID
                                            #:133



 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        152.    Plaintiff Nick Weeks (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F25CL476245 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                 133
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 134 of 235 Page ID
                                            #:134



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        153.    Plaintiff Jacob Weld (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Florida, who purchased a 2015 Fiesta VIN 3FADP4TJ3FM184323 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 134
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 135 of 235 Page ID
                                            #:135



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        154.    Plaintiff David West (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3F29DW326185 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                 135
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 136 of 235 Page ID
                                            #:136



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        155.    Plaintiff Megan Westfall (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F23EL390255 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                 136
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 137 of 235 Page ID
                                            #:137



        156.    Plaintiff Breanna White (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3E29DL170764 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        157.    Plaintiff Sarah White (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3E23CL468372 in Texas. Plaintiff’s vehicle was



                                                 137
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 138 of 235 Page ID
                                            #:138



 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        158.    Plaintiff Arrieana Whitehurst (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2012 Focus VIN 1FAHP3K24CL179540 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



                                                 138
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 139 of 235 Page ID
                                            #:139



 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        159.    Plaintiff Kathy Whitman (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4EJ3DM193906 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 139
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 140 of 235 Page ID
                                            #:140



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        160.    Plaintiff Andrew Wierzbicki (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3F29DL169581 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



                                                 140
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 141 of 235 Page ID
                                            #:141



 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        161.    Plaintiff Courtnee Wiggins (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3K21DL262567 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



                                                 141
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 142 of 235 Page ID
                                            #:142



 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        162.    Plaintiff Donald Wilhide (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4EJDM165106 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                 142
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 143 of 235 Page ID
                                            #:143



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        163.    Plaintiff Allen Wilkes (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3F25DL315510 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                 143
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 144 of 235 Page ID
                                            #:144



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        164.    Plaintiff Trenton Willard (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3F22EL429871 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                 144
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 145 of 235 Page ID
                                            #:145



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        165.    Plaintiff Miquel Williams (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Fiesta VIN 3FADP4BJ8EM106796 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 145
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 146 of 235 Page ID
                                            #:146



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        166.    Plaintiff Phyllis Williams (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3K22CL449512 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                  146
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 147 of 235 Page ID
                                            #:147



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        167.    Plaintiff Rebecca Williams (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Fiesta VIN 3FADP4BJ8DM207707 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



                                                 147
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 148 of 235 Page ID
                                            #:148



        168.    Plaintiff Stephen Williams (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Arkansas, who purchased a 2012 Focus VIN 1FAHP3M23CL473086 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        169.    Plaintiff Justice Williamson (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3F21EL140268 in Texas. Plaintiff’s



                                                 148
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 149 of 235 Page ID
                                            #:149



 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        170.    Plaintiff Kim Williamson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3K26FL240339 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 149
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 150 of 235 Page ID
                                            #:150



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        171.    Plaintiff Salena Willis (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F29EL430547 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 150
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 151 of 235 Page ID
                                            #:151



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        172.    Plaintiff Tracy Wise (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F28CL147359 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 151
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 152 of 235 Page ID
                                            #:152



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        173.    Plaintiff Tony Witt (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADPOG73E5366611 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 152
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 153 of 235 Page ID
                                            #:153



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        174.    Plaintiff Roy Wix (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2012 Focus VIN 1FAHP3F29CL280101 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                 153
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 154 of 235 Page ID
                                            #:154



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        175.    Plaintiff Phil Woodard (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4EJXDM109189 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



                                                 154
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 155 of 235 Page ID
                                            #:155



 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        176.    Plaintiff Randy Woodford (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN !FADP3F27EL288618 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



                                                 155
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 156 of 235 Page ID
                                            #:156



 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        177.    Plaintiff Justin Woodruff (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2014 Focus VIN 1FADP3E20EL161520 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



                                                 156
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 157 of 235 Page ID
                                            #:157



 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        178.    Plaintiff Varner Woods (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Florida, who purchased a 2012 Focus VIN 1FAHP3K21CL394342 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                 157
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 158 of 235 Page ID
                                            #:158



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        179.    Plaintiff Sara Woodson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F21DL153715 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                 158
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 159 of 235 Page ID
                                            #:159



        180.    Plaintiff Martrell Woolridge (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3F26EL288707 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        181.    Plaintiff Ben Wren (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3N25EL293463 in Texas. Plaintiff’s vehicle was



                                                 159
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 160 of 235 Page ID
                                            #:160



 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        182.    Plaintiff Gerald Wren (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Focus VIN 1FADP3E26DL151332 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 160
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 161 of 235 Page ID
                                            #:161



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        183.    Plaintiff Brianna Wright (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Focus VIN 1FAHP3M20CL374242 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 161
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 162 of 235 Page ID
                                            #:162



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        184.    Plaintiff Trevor Wyant (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3F27FL243809 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



                                                 162
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 163 of 235 Page ID
                                            #:163



 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        185.    Plaintiff Cristi Yager (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2016 Focus VIN 1FADP3F27GL404385 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 163
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 164 of 235 Page ID
                                            #:164



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        186.    Plaintiff Michael Yates (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Fiesta VIN 3FADP4EJ5CM170609 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                 164
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 165 of 235 Page ID
                                            #:165



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        187.    Plaintiff Kami Youngblood (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3K25EL277249 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



                                                 165
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 166 of 235 Page ID
                                            #:166



 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        188.    Plaintiff Loretta Yzquierdo (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2014 Focus VIN 1FADP3N25EL357436 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



                                                 166
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 167 of 235 Page ID
                                            #:167



 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        189.    Plaintiff Robert Zamarippa (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2013 Focus VIN 1FADP3K25DL209672 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



                                                 167
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 168 of 235 Page ID
                                            #:168



 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        190.    Plaintiff Jose Zamora (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Focus VIN 1FADP3F28EL440230 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




                                                 168
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 169 of 235 Page ID
                                            #:169



 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        191.    Plaintiff Juan Zamora (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2014 Fiesta VIN 3FADP4EJ9EM145568 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



                                                 169
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 170 of 235 Page ID
                                            #:170



        192.    Plaintiff Samantha Zarate (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Fiesta VIN 3FADP4EJ5DM176718 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        193.    Plaintiff Humberto Zavala (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2015 Focus VIN 1FADP3F23FL313807 in Texas. Plaintiff’s vehicle



                                                 170
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 171 of 235 Page ID
                                            #:171



 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        194.    Plaintiff Juan Zavala (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2013 Fiesta VIN 3FADP4EJ9DM225290 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



                                                 171
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 172 of 235 Page ID
                                            #:172



 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        195.    Plaintiff Yiyao Zhang (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2016 Focus VIN 1FAD3K28GL231501 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



                                                 172
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 173 of 235 Page ID
                                            #:173



 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        196.    Plaintiff Melinda and Mark Zienty (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Texas, who purchased a 2013 Focus VIN 1FADP3F27DL258775 in Texas.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



                                                 173
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 174 of 235 Page ID
                                            #:174



 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        197.    Plaintiff Julian Zorrilla (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2013 Focus VIN 1FADP3F23DL233646 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



                                                 174
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 175 of 235 Page ID
                                            #:175



 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        198.    Plaintiff Angelita Zuniga (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2012 Fiesta VIN 3FADP4BJXCM150599 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



                                                 175
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 176 of 235 Page ID
                                            #:176



 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                           DEFENDANT

        199.    Defendant Ford Motor Company is a corporation organized under the laws of the

 State of Delaware and registered to conduct business in Texas. Ford Motor Company’s Corporate

 Headquarters is located at 1 American Road, Dearborn, Michigan 48126. Ford Motor Company

 designs and manufactures motor vehicles, parts, and other products for sale in the United States

 and throughout the world. At all relevant times, Defendant was and is engaged in the business of

 designing, manufacturing, constructing, assembling, marketing, distributing, and/or selling

 automobiles and motor vehicle components in Texas and throughout the United States.

                                  JURISDICTION AND VENUE

        200.    The Court has diversity jurisdiction because Plaintiffs and Defendant are citizens

 of different states and the amount in controversy exceeds $75,000 for each Plaintiff. Ford is a

 corporation organized, doing business, and existing under the laws of Delaware with its principal

 place of business in Michigan.




                                                 176
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 177 of 235 Page ID
                                            #:177



        201.    This Court also has original jurisdiction over this lawsuit pursuant to 28 U.S.C. §

 1332(a)(1), as modified by the Class Action Fairness Act of 2005, because Plaintiffs and

 Defendants are citizens of different states; there are more than 100 Plaintiffs; the aggregate amount

 in controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Plaintiffs

 reside across the United States. The citizenship of each party is described further below in the

 “Parties” section.

        202.    This Court has original jurisdiction to hear this case by virtue of 15 U.S.C. §

 2310(d)(1)(A), the Magnuson-Moss Warranty Act, conferred under 28 U.S.C. § 1131. The Court

 has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

        203.    Civil Rule of Procedure 20 provides “persons may join in one action as plaintiffs

 if…they assert any right to relief jointly, severally, or in the alternative with respect to or arising

 out of the same transaction, occurrence, or series of transactions or occurrences; and [] any

 question of law or fact common to all plaintiffs will arise in the action.”

        204.    As set forth herein, Plaintiffs herein all have claims that all arise from the same acts

 and occurrences, therefore joinder is appropriate based on commonality pursuant to Rule 20.

        205.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because Ford resides in

 the District Court of Delaware where it is incorporated. Additionally, Ford is subject to personal

 jurisdiction in this District since (i) Ford conducts substantial business in this District and has

 intentionally availed itself of the laws and markets of the United States and this District; and/or

 (ii) many of the acts and transactions giving rise to this action occurred in this District. Ford sells

 a substantial number of automobiles in this District, has dealerships located throughout this

 District, and the misconduct occurred in part in this District.




                                                  177
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22             Page 178 of 235 Page ID
                                           #:178



                                   PROCEDURAL HISTORY

        206.    This case arises from a consolidated case filed in April 2017 in the Wayne Circuit

 Court in Michigan. The case was styled Cyr, et al. v. Ford Motor Company, Case No. 2017-

 006058-NZ.

        207.    The Cyr Plaintiffs were comprised of over 12,000 named plaintiffs, including the

 Plaintiffs herein, who filed approximately 83 actions in the Wayne Circuit Court, and, as Plaintiffs

 in a pending individual lawsuit against Ford based on alleged problems with the PowerShift

 Transmission, were automatically excluded from the nationwide class action settlement against

 Ford, Vargas v Ford Motor Company, United States District Court, Central District of California,

 Case No. 2:12-cv-08388 ABC (FFMx).

        208.     These cases advanced claims alleging the same Transmission Defects complained

 of herein.

        209.    In February 2018, Ford filed a motion seeking summary judgment of, inter alia, the

 Michigan Consumer Protection Act claims and dismissal of the non-resident Plaintiffs’ claims

 under the doctrine of forum non conveniens. Ford argued that the non-Michigan Plaintiffs’ claims

 were not properly before the court, which was located in the same Circuit as Ford’s world

 headquarters, and should be filed in a forum other than Michigan State Court. The Wayne Circuit

 Court denied Ford’s motion.

        210.    In November 2018, the Michigan Court of Appeals granted Ford leave to appeal.

 Cyr, et al. v. Ford Motor Company, Case No. 345751. On December 26, 2019, the Michigan Court

 of appeals reversed the lower court’s holding and dismissed all of the non-Michigan Plaintiffs on

 the basis of forum non conveniens, acknowledging that a trial court may only exercise its discretion

 to apply forum non conveniens provided that some other appropriate forum exists. Specifically,



                                                 178
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 179 of 235 Page ID
                                            #:179



 the court stated that “Appropriate forums are the site of the incident, a corporation’s state of

 incorporation or principal place of business and the state of plaintiff’s domicile.”

        211.    In February 2020, Plaintiffs applied for leave to appeal the appellate decision with

 the Michigan Supreme Court, which was denied on November 4, 2020.

        212.    On November 25, 2020, Plaintiffs moved the Michigan Supreme Court for

 reconsideration. On July 16, 2021, that request was denied.

        213.    Plaintiffs now bring this case in accordance with the Order of the Michigan Court

 of Appeals.

        214.    Concurrently, Cyr plaintiffs from all 50 states and Puerto Rico assert claims herein.

        215.    Plaintiffs anticipate this case will be promptly transferred to the pending

 Multidistrict Litigation, In re: Ford Motor Co. DPS6 Powershift Transmission Products Liability

 Litigation, MDL No. 2814 pursuant to 28 U.S.C. § 1407, which was created by Ford for all DPS6

 cases filed nationwide, will serve the convenience of the parties and witnesses and promote the

 just and efficient conduct of this litigation. The JPML held:

        On the basis of the papers filed and the hearing session held, we find that
        these actions involve common questions of fact, and that centralization will
        serve the convenience of the parties and witnesses and promote the just and
        efficient conduct of this litigation. The actions share complex factual questions
        arising out of allegations that the DPS6 PowerShift Transmission installed in
        certain Ford Fiesta and Ford Focus vehicles is defective and negatively affects
        the drivability, safety, and useful life of the vehicles. The actions allege that
        plaintiffs' vehicles suffer from similar transmission-related problems,
        including slipping, bucking, jerking, sudden acceleration, delayed acceleration
        and downshifting, and premature wear that requires repair or replacement.
        Common factual questions include (1) whether the design or manufacturing of
        the PowerShift transmission is defective; (2) defendant's knowledge of, and
        conduct in response, to the alleged defect; and (3) whether vehicle owners and
        lessees have suffered a diminution in vehicle value or other economic damages.
        Centralization will eliminate duplicative discovery; prevent inconsistent pretrial
        rulings; and conserve the resources of the parties, their counsel, and the
        judiciary.


                                                 179
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22           Page 180 of 235 Page ID
                                            #:180




 The actions in MDL No. 2814 involve common factual questions arising out of allegations that the

 DPS6 PowerShift Transmission installed in certain Ford Fiesta and Ford Focus vehicles is

 defective and negatively affects the drivability, safety, and useful life of the vehicles. See In re

 Ford Motor Co. DPS6 PowerShift Transmission Prods. Liab. Litig., 289 F. Supp. 3d 1350, 1352-

 53 (J.P.M.L. 2018).

                              FACTS COMMON TO ALL COUNTS

   OVERVIEW OF THE DESIGN AND OPERATION OF THE DPS6 TRANSMISSION

         216.    Ford introduced the DPS6 Transmission (the “DPS6”) in its Fiesta and Focus

 vehicles for the 2011 and 2012 model years, respectively.

         217.    Plaintiffs’ vehicles were manufactured by Ford and delivered to Plaintiffs equipped

 with the DPS6. Ford offered the PowerShift Transmission as the sole “automatic transmission”

 option in Plaintiff’s vehicle.

         218.    The DPS6 was designed, with input from Ford, by Getrag, a German transmission

 manufacturer. Getrag worked in concert with LuK, a German manufacturer of clutch components.

 The parts were supplied to Ford for incorporation as original equipment into Ford Focus and Fiesta

 vehicles. According to Ford, the DPS6 was supposed to provide uninterrupted torque from “twin

 internal clutches to keep changes among its six forward gears smooth and seamless, automatically.

 One clutch supports the uneven gearset, one, three and five; while the other clutch controls the

 even gears, two, four and six. The powertrain control unit that electronically integrates and

 harmonizes engine and DPS6 PowerShift automatic transmission operation always keeps the

 engine in peak efficiency range. In conjunction with six optimally spaced gears, DPS6 increases

 smoothness between gears, without engine torque falling off.”




                                                 180
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 181 of 235 Page ID
                                            #:181



        219.    The DPS6 is neither a traditional manual transmission, nor a typical automatic

 transmission, but rather is a computerized “automated manual” transmission.

        220.    Traditional manual transmissions use a driver-controlled clutch. By pressing and

 releasing a foot pedal, the driver causes the clutch to mechanically engage and disengage the

 engine from the transmission, allowing the vehicle to travel continuously while the driver manually

 changes gears. The clutch in a traditional manual transmission is a “dry clutch,” incorporating at

 least one clutch disc, which is covered with a friction material (asbestos, carbon fibers). The clutch

 disc is fixed to the input shaft of the transmission’s gearbox. When the friction material on the face

 of the clutch disc is pressed against the engine’s rotating flywheel (which is done with a “pressure

 plate” utilizing strong springs), the clutch disc “locks onto” the flywheel with tremendous force,

 allowing the engine’s flywheel to turn the transmission’s input shaft with virtually no slippage or

 friction loss. Because a dry clutch allows for transfer of virtually all the engine’s power to the

 transmission without friction losses, a properly designed and operating manual transmission is

 highly fuel-efficient. However, operation of a manual transmission can be difficult for less

 experienced drivers and can result in the vehicle jerking or shuddering during improper operation,

 manual transmissions are disfavored by some consumers. Moreover, the dry clutch will fail to

 operate properly if the friction material is contaminated by oil from either the engine or the

 transmission’s gearbox.

        221.    Traditional manual transmissions are characterized by gear ratios that are selectable

 by locking selected gear pairs to the output shaft within the gearbox. All gears within the gearbox

 are and must remain lubricated by oil. The gears are arranged on parallel shafts: the input shaft,

 which is driven by the engine’s rotation power transferred by the clutch as discussed above, must

 be sealed to prevent gearbox oil from contaminating the dry clutch. The output shaft transmits



                                                  181
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 182 of 235 Page ID
                                            #:182



 rotation power out to the vehicle’s wheels. Sometimes a different shaft, known as a countershaft

 or layshaft, is arranged in parallel alongside the output shaft; in those applications, the layshaft is

 turned by the input shaft and from there, essentially serves as the input shaft for purposes of the

 gear arrangements and engagements with gears on the output shaft. The input shaft, or layshaft,

 and its gears generally rotate at the same speed as the engine when the clutch disc is pressed to the

 flywheel. Each input shaft gear is enmeshed with companion gears on the output shaft; the gears

 slide along the shafts, when selected by the driver using the shift lever, to achieve different overall

 gear ratios for launching from a standstill, lower speeds, higher speeds, and so on. However,

 because the various pairs of gear sets are not always engaged with each other, shifting requires the

 gear speeds to be precisely synchronized and can result in difficult gear engagements, particularly

 for inexperienced drivers or with worn gear sets or worn synchronizers.

        222.    In contrast, typical automatic transmissions free the driver from operating the dry

 clutch using a fluid-filled device called a torque converter. The torque converter is a fluid coupling,

 in which two turbines oppose each other within a sealed fluid-filled container. The engine is

 connected to one turbine and the transmission’s input shaft is connected to the other. When the

 engine rotates its turbine, the moving and pressurized fluid rotates the opposite turbine causing

 power to be transferred to the transmission’s input shaft. Thus, the torque converter substitutes for

 a dry clutch, transmitting power from the engine to the transmission’s input shaft through a fluid

 medium rather than direct mechanical engagement to the flywheel.

        223.    Conventional automatic transmissions are characterized by more complicated

 “planetary gear sets,” rather than the parallel gears on shafts as in a typical manual. The

 conventional automatic transmission’s gearbox contains an input shaft with gears (known as “sun

 gears”) that are surrounded by three or four smaller gears (known as “planetary gears”). The



                                                  182
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 183 of 235 Page ID
                                            #:183



 planetary gears are held in position relative to each other by a brace (known as a “carrier”). The

 planetary gears surround and are enmeshed with the sun gear. Meanwhile, the set of planetary

 gears is itself surrounded by (and each planetary gear is enmeshed with) an outer ring gear. If the

 sun gear is rotated and the ring gear held stationary, the planetary gears rotate in an orbit around

 the sun gear, thereby turning the carrier (and anything connected to the carrier). If the sun gear is

 rotated and the planetary carrier held stationary, the ring gear (and anything connected to that) will

 rotate around the entire assembly. The arrangements of sun, ring, and planetary gears are moved

 hydraulically forward and backward along the input shaft, and the different components variously

 allowed to spin or held stationary, to result in various overall gear ratios. As a result of this

 arrangement, the gear shifts are typically smoother (because the sun, planetary, and ring gears are

 constantly engaged with each other).

        224.    Automatic transmissions offer increased comfort and convenience to drivers

 because the torque converter’s fluid coupling transmits power from the engine to the transmission

 smoothly and predictably, and because the planetary gear arrangement is more stable and smoother

 in its operation. Also, there is no need to keep any friction surfaces “dry” or separate from the

 lubricating transmission fluid. However, conventional automatics are generally less fuel efficient

 than manual transmissions because the torque converter transfers power through fluid less

 efficiently than a mechanical dry clutch, and a conventional automatic’s hydraulic shifts are not as

 “positive” as a manual transmission’s shifts.

        225.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes and has

 always utilized manual transmissions featuring a dry clutch as described above and featuring a

 gearbox housing input and output gears on parallel input and output shafts. Plaintiffs are informed

 and believe, and thereby allege, that Ford has never, in any instance, equipped any Ford vehicle



                                                  183
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 184 of 235 Page ID
                                            #:184



 for sale to the public with a manual transmission that used any different general type of clutch, nor

 any different general type of gearbox.

        226.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes, and at

 all times prior to 2010 had always utilized, automatic transmissions featuring a torque converter

 to provide a fluid coupling as described above, and featuring a gearbox housing planetary gear sets

 as described above, with a few notable exceptions: the continuously variable transmission (CVT)

 recently developed and used in some Ford vehicles; the dual-dry-clutch transmission used in the

 $200,000+ Ford GT; the dual-wet-clutch transmission used in some models in the European

 market; and the DPS6 “automatic” transmission used in Plaintiffs’ vehicles.

        227.    Plaintiffs are informed and believe, and therefore allege, that Ford has never, in any

 other instance, equipped any Ford vehicle for sale to the public with an “automatic” transmission

 that used any different general type of power coupling, nor any different general type of gearbox.

        228.    Ford marketed and sold its DPS6 PowerShift Transmission as an automatic

 transmission that offered the “best of both worlds” combining a manual transmission’s fuel

 economy with an automatic transmission’s ease of operation and shift quality.

        229.    Ford’s DPS6, while sometimes referred to as an automatic, is a set of computerized

 manual transmissions. It lacks a torque converter, instead using two clutches to mechanically

 engage and disengage the engine and transmission. Whereas similar “automated manual”

 transmissions on the market use “wet” clutches bathed in oil, Ford’s DPS6 clutches lack the oil

 pumps and other components of a wet clutch system, and instead operate “dry.”

        230.    Ford incorporated the DPS6 into Fiesta and Focus vehicles to meet heightened

 governmental and consumer expectations for fuel economy, performance, convenience, and

 efficiency. Ford designed and marketed its DPS6 PowerShift Transmission as a more advanced



                                                 184
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 185 of 235 Page ID
                                            #:185



 and fuel-efficient automatic transmission. According to Ford’s press release dated March 10, 2010,

 “PowerShift with dry-clutch facings and new energy-saving electromechanical actuation for

 clutches and gear shifts saves weight, improves efficiency, increases smoothness, adds durability

 and is sealed with low-friction gear lubricant for the life of the vehicle. The transmission requires

 no regular maintenance.”

        231.    In theory, a computer-controlled, automated manual transmission may provide the

 convenience of an automatic transmission without sacrificing the fuel efficiency and shift speed

 of a manual transmission. In practice, however, Ford’s PowerShift Transmission is plagued by

 numerous problems and safety concerns.

                                       THE DPS6 DEFECTS

        232.    The DPS6 is defective because it suffers from the following safety-related

 mechanical and electronic failures, which arose following the initial launch of the transmission in

 late 2010 (for the 2011 MY Fiesta) and continued throughout the next six-years: Wet Clutch”

 Shudder Attributed to Leaking Input Shaft Seals, Mechatronic Actuation Module (MAM) Failures,

 “Dry” Clutch Shudder, Software Calibration Issues (collectively the “Transmission Defects”).

        233.    These Transmission Defects, individually or collectively, caused the following

 “symptoms” in the DPS6’s performance: constant gear slipping, bucking, kicking, jerking, harsh

 engagement, premature internal wear, sudden acceleration, delayed downshifts, delayed

 acceleration, difficulty stopping the vehicle, and, eventually, premature transmission failures.

        234.    Such Transmission Defects that cause passenger vehicles to jerk, buck, suddenly

 lurch forward, delay acceleration, delay deceleration, and/or suddenly lose forward propulsion

 present a safety hazard – particularly when they occur without warning – because they severely




                                                 185
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 186 of 235 Page ID
                                            #:186



 compromise the driver’s ability to control the car’s speed, position, acceleration (including from a

 stop), and deceleration.

        235.    For example, these conditions make it difficult to safely merge into traffic. Even

 more troubling, the Transmission Defects can cause the vehicle to fail to downshift and decelerate,

 but instead continue to transfer power to the transmission and even surge the engine’s RPMs, even

 when the brakes are depressed. As a result, drivers of vehicles equipped with the DPS6 have

 reported their vehicles lurching forward into intersections and at red lights, despite applying their

 brakes to stop the car.

        236.    The Transmission Defects also causes premature wear to the DPS6’s clutch plates

 and other internal components, which results in premature transmission failure and requires

 expensive repairs, including premature transmission replacement.

        237.    Almost immediately after it began selling DPS6-equipped vehicles, Ford began

 receiving complaints and other information that the DPS6 PowerShift Transmission was not

 working properly or “as advertised.” For example, in a 2011 New York Times review of the Ford

 Focus, the reviewer stated that “Ford programmed the PowerShift Dual-clutch transmission to

 change gears in odd and infuriating ways” and that “[t]he transmission is often in the wrong gear

 at the wrong time, resulting in jerks, pauses and lethargic acceleration.”

        238.    In response to these criticisms, Greg Burgess, an engineer at Ford, conceded in the

 same New York Times article that “[i]t is quite a challenge to deliver something that is very, very

 fuel efficient and yet feels like a conventional automatic, and there are some balances and some

 trade-offs that we make.”

        239.    In response to complaints about the Transmission Defects, in 2010 and 2011, Ford

 issued multiple Technical Service Bulletins (“TSBs”) to its dealers and authorized repair facilities



                                                 186
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22             Page 187 of 235 Page ID
                                           #:187



 acknowledging defects in the DPS6. Ford’s TSB from September 2010, covering the 2011 Ford

 Fiesta, informed dealers and service personnel of “concerns such as no engagement or intermittent

 no engagement in Drive or Reverse when shifting from Park to Drive or Reverse, grinding noise

 during engagement, and/or check engine light with transmission control module (CM) diagnostic

 trouble code…”

          240.   Similarly, Ford’s TSB released on January 1, 2011, covering the 2011 Ford Fiesta

 with the PowerShift Transmission, informs dealers and service personnel of problems with the

 PowerShift Transmission causing “a loss of power, hesitation, surge, or lack of throttle response

 while driving.”

          241.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

 dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

 only.”

          242.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

 TSBs addressed problems with the DPS6 including “concerns in Drive or Reverse when shifting

 from Park to Drive or reverse, no engagement, delayed engagement, intermittent engagement,

 noise during engagement…”

          243.   Another Ford TSB released in September 2011 advised dealers to reprogram the

 transmission computer if 2011 Ford Fiesta owners complained about “hesitation when accelerating

 from a low speed after coast down, harsh or late 1-2 upshift, harsh shifting during low-speed tip-

 in or tip-out maneuvers and/or engine r.p.m. flare when coasting to a stop.”

          244.   The 2012 Ford Focus was the subject of a September 2011 Ford TSB, which

 informed dealers and service personnel of transmission problems including: “RPM flare on

 deceleration coming to a stop, rough idle on deceleration coming to a stop, intermittent engine idle



                                                 187
Case 2:22-cv-05035-AB-PVC                Document 1 Filed 06/17/22                Page 188 of 235 Page ID
                                                 #:188



 fluctuations at a stop, intermittent vehicle speed control inoperative, intermittent harsh

 engagement/shift…”

            245.    In May of 2012, Ford issued a “Customer Satisfaction Program: Program Number

 12B37.” In a letter sent to 2012 Ford Focus drivers, Ford indicated that drivers “may experience

 rough or jerky automatic transmission shifts. In addition, the vehicle may experience roll back

 when the driver is transitioning from the brake pedal to the accelerator pedal while on a slight

 incline.” Ford, however, did not issue a recall and did not warn drivers of the safety risks associated

 with these known problems – even though, as alleged below, Ford was obligated to so do.

      FORD KNEW ITS DPS6 POWERSHIFT TRANSMISSION WAS DEFECTIVE AND
        UNSAFE EVEN BEFORE IT BEGAN SELLING DPS6-EQUIPPED VEHICLES

            246.    Prior to the DPS6’s introduction into the marketplace, Ford determined that a

 component failure that led to an “unintended neutral” – i.e., a loss of motive power – was assessed

 as the highest severity risk factor on its Failure Mode and Effects Analysis (FMEA).

            247.    Ford made this FMEA determination by employing a standard risk-assessment

 technique to determine the myriad ways this dual dry-clutch transmission might fail, the likelihood

 of such failures, and the severity of the consequences.

            248.    The FMEA process, which Ford itself helped pioneer, ranks the severity of

 component failures on a ten-point scale, with the high end of the scale denoting the most severe

 failures.1

            249.    Specifically, a rank of “10” means a failure mode that is “hazardous without

 warning,” described as “very high severity ranking when a potential Failure Mode affects safe

 vehicle operation and/or involves noncompliance with government regulation without warning.”2



 1
     Failure Modes and Effects Analysis, Ford FMEA Handbook, version 4.2; pg. 1-4, 3-33; December 2011
 2
     VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

                                                        188
Case 2:22-cv-05035-AB-PVC                Document 1 Filed 06/17/22               Page 189 of 235 Page ID
                                                 #:189



           250.     A rank of “9” means a mode that is “hazardous with warning,” also described as

 “very high severity ranking when a potential high failure mode affects safe vehicle operation

 and/or or involves noncompliance with government regulation with warning.”3

           251.     Failure modes with high severity ranks must be designed out of the product, or have

 robust countermeasures designed into the product, or (if, despite the former two, they occur in the

 field) lead to a recall.

           252.     Ford and Getrag engineers identified a number of failure modes in the DPS6 that

 could result in “Unintended Neutral Events” – meaning the transmission would disengage the gears

 and slip into the neutral position, even though the driver had selected a drive gear and the gear

 shift lever remained in the driver selected position, and regardless of the vehicle’s speed. Such

 Unintended Neutral Events resulted in the vehicle losing drive/motive power from the engine,

 which poses a safety hazard for a number of reasons, including, inter alia, the risk of collision; the

 driver’s inability to drive the vehicle out of dangerous traffic; and the risk to occupants when

 stranded in high-speed road conditions. Moreover, government regulations require transmissions

 to provide engine braking during deceleration, which is nonexistent during an Unintended Neutral

 Event.

           253.     During 2007 and 2008, Ford and Getrag argued as to how such an unintended

 neutral event should be rated/classified as a safety issue. In these arguments, Ford corporate

 officials, including Ford’s Office of the General Counsel (OGC), argued that a failure mode that

 led to an unintended neutral event should be ranked as the highest or most severe safety type of

 safety problem, referred to as a Severity Level 10 (“SEV 10”).




 3
     VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

                                                       189
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22                Page 190 of 235 Page ID
                                               #:190



         254.    On February 20, 2008, Mr. Kirchhoffer and Joe Wickenheiser (a Ford “Small Car

 External Investigations and TREAD Reporting Manager”) shared an Audi recall involving a

 “competitive Electro-hydraulic clutch actuator” in which a small number of 2004 Audi TT models

 had a safety defect that could lead to degraded clutch performance: “The clutch could lose its

 ability to provide torque to the transmission without a prior warning, which could allow the vehicle

 to roll, increasing the risk of a crash.”4 Mr. Kirchhoffer noted in response: “This info is very helpful

 with respect to ‘Unintended Neutral.’ This is exactly the same event we are trying to avoid

 occurring to the customer. As a benchmark to be cascaded to the team – very helpful. It reinforced

 the effort to keep SEV=10 and drive the detection on manufacturing to level =1 to avoid this

 happening – much appreciated.”5

         255.    Further, Dave Garrett, a Ford Campaign Prevention Specialist, opined to the

 Ford/Getrag team that “[i]n practice, I urge engineers to increase the FMEA severity to 10, for any

 failure mode that has caused a previous Safety or Emission related recall.”6

         256.    As detailed, infra, Ford has issued safety recalls on other vehicle models for failure

 modes that caused a stall or loss of motive power event, including in circumstances when the driver

 was forewarned.

         257.    Despite the stated concerns of its Office of General Counsel, Vehicle Safety Office,

 and Quality Technical Specialists, Ford’s “senior management team” chose to adopt Getrag’s

 position and ultimately rated the Unintended Neutral failure mode as merely a SEV “8.”

         258.    For example, on September 25, 2008, Mr. Kirchhoffer wrote an internal email to

 Ford’s DPS6 team entitled, “Unintended Neutral Severity Rating: Clear Direction,” in which he



 4
   VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
 5
   VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
 6
   VGS7-0058850; Ford Severity Classification; David Garrett; Ford Motor Company; June 15, 2007.

                                                     190
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22             Page 191 of 235 Page ID
                                           #:191



 explained that “[p]er direction from our senior management team please be advised that: 1) The

 Unintended Neutral Event shall be renamed to ‘Loss of Drive’; 2) The SEV Classification is

 confirmed to SEV = 8….”

    AFTER BEGINNING TO SELL DPS6-EQUIPPED VEHICLES, FORD RECEIVED
    ADDITIONAL INFORMATION THAT THE TRANSMISSION DEFECTS WERE
         DANGEROUS, REPORTEDLY CAUSING ACCIDENTS, INJURIES

        259.    The unintended neutral failure events plagued both Fiesta and Focus vehicles

 equipped with the DPS6, and these safety defects continue to this day. For example, on February

 22, 2011 (after the launch of the Fiesta and in preparation for the launch of the Focus), DPS6

 Transmission Systems Engineer, Tom Hamm, wrote an email to Ford engineers David Lempke

 and Piero Aversa regarding the upcoming 2012 Focus vehicle. Mr. Hamm stated, “Please tell me

 we are not going to launch this vehicle with the same issue we have on the Feista [sic]?”

        260.     Customers consistently reported that the transmission lost power at inopportune

 times, leaving drivers unable to maneuver in traffic or startling other drivers, leading to crashes,

 and near crashes.

        261.    On September 20, 2011, Charles Baldree (a Ford sales manager for 30 years)

 contacted Mr. Lempke to share his own experiences in which a DPS6 transmission simply stopped

 working in third gear – a dangerous condition in certain driving scenarios:

        Just thought I would provide some feedback, and find out when the new TSB will
        be out. I am still having problems with my transmission (shuttering, hesitating,
        whining noise, etc.) but this week a couple of new ones surfaced. I experienced it
        twice. Both time I think the car was probably in about third gear when the
        transmission seemed to go in “free fall.[sic] It simply stopped working. After a few
        seconds, the transmission kicked back in with a loud thump and shutter. The loss
        of power could have been serious in on-coming traffic. The original TSB helped
        with the shift points, but I am really hoping the second TSB will fix the remaining
        problems. I was looking at all the posts on Focus Fanatics and believe me there are
        many, many 2012 Focus owners who are up in arms over the Getrag transmission.
        I think if Ford doesn’t do something quick there will be a revolt. Owners are so
        mad they are bad mouthing the product something furious. Also, some of them

                                                 191
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22               Page 192 of 235 Page ID
                                            #:192



        think there is a serious safety issue with the transmission and plan to contact the
        appropriate government authority to demand a recall. Other owners are asking for
        the Company to provide an extended warranty on the transmission.7

        262.    Ford was well aware that it was likely that failures, complaints, crashes causing

 property damage and injuries were likely to continue.

        263.    The DPS6 transmission suffers from multiple safety-related mechanical and

 electronic failures that emerged from the initial launch of the transmission in late 2010 (for the

 2011 MY Fiesta) and continuing over a six-year period due to the Transmission Defects referenced

 supra. According to Ford’s internal documentation, these Transmission Defects include:

        Because of a mismatched coefficient thermal expansion between the printed circuit
        board and the ATIC chips, over time, thermal cycling and mechanical strain will
        produce solder cracks on multiple ATIC91 ATC106 pins.8 This leads to a loss of
        communication and an unintended neutral. Ford first learned of this issue in January
        2010, when vibration and rapid change of temperature testing found pin failures
        and suspected solder failures: “Parts are being prepared for in depth solder joint
        investigation.”9

        Software Calibration Issues. “Another issue that surfaced in 2016 was Ford’s
        decision to release a software calibration that allowed power loads to the clutch that
        could result over time in the failure of either the friction plate or the pressure plates.
        Notably, software calibration issues have plagued the DPS6 Transmission since
        before its launch.

        Delayed Crank Failure. In 2016, Ford identified a delayed crank failure defect with
        the DPS6 that was due to the “clutch actuator lever component inside the
        transmission.”10

        264.     As a result of one or more of these defects, acting either individually or in

 combination, the PowerShift Transmissions in Ford Focus and Fiesta vehicles consistently slip,




 7
   VGS20044739; Subject: 2012 Focus Transmission Issues; Charles Baldree; 2011.
 8
   VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 9
   VGS7-0076353; GETRAG Summary for January 29,2010 Conti meeting: handout for today’s 6DCT250 meeting;
 Ibrahim Kaddouh; Ford Motor Company; January 29, 2010.
 10
    Ford DPS6-SAC 00045387; RE: QSF do Fiesta – info; Colin Menapace; Ford Motor Company; November 29,
 2016.

                                                  192
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 193 of 235 Page ID
                                            #:193



 buck, kick, jerk, harshly engage; and have premature internal wear, sudden acceleration, delay in

 downshifts, delayed acceleration, create difficulties in stopping the vehicle, and, eventually,

 premature transmission failure.

        265.    The Transmission Defects cause unsafe conditions in vehicles equipped with the

 PowerShift Transmission, including, but not limited to suddenly lurching forward, delayed

 acceleration, and sudden loss of forward propulsion (i.e., the “unintended neutral events”

 referenced above). These conditions present a safety hazard because they severely affect the

 driver’s ability to control the vehicle’s speed, acceleration, and deceleration. For example, these

 conditions make it difficult to safely merge into traffic. Even more troubling, the Transmission

 Defects can cause the vehicle to fail to downshift and decelerate, but instead continue to transfer

 power to the transmission and even surge the engine’s RPMs, when the brakes are depressed. As

 a result, drivers of vehicles equipped with the PowerShift Transmission have reported their

 vehicles lurching forward into intersections at red lights due to the failure of their braking efforts

 to stop the vehicle.

        266.    Plaintiffs are informed and believe, and on that basis allege, the Transmission

 Defects also cause premature wear to the PowerShift Transmission’s clutch plates and other

 components, which results in premature transmission failure and requires expensive repairs,

 including premature transmission replacement.

        267.    As early as 2010, Ford knew or should have known that the PowerShift

 Transmission was defective.




                                                  193
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22                Page 194 of 235 Page ID
                                               #:194



       DESPITE KNOWING THAT THE DPS6 POWERSHIFT TRANSMISSION HAD
       SAFETY DEFECTS, FORD FALSELY AND PUBLICLY REPRESENTED – TO
      PLAINTIFFS, CONSUMERS, AND GOVERNMENT REGULATORS – THAT THE
      PROBLEMS WITH THE DPS6 TRANSMISSION WERE NOT SAFETY-RELATED

         268.    In its official communications with national agencies charged with consumer

 protection or safety, Ford characterized the DPS6’s myriad defects as customer satisfaction or

 transmission quality issues and denied that they had caused any (or only a few) crashes.

         269.    In a November 2014 presentation to the NHTSA, Ford purported to address the

 solder cracks on the ATIC chips in the MAM, transmission shift quality, rollback, the shudder

 problem and the leaking input shaft seals problems detailed above. But in this presentation, Ford

 did not mention any threats to safety, nor did Ford include information about crashes and injuries

 that were alleged to have been caused by the loss of motive power and other transmission defects.11

         270.    Ford acknowledged internally that as of May 31, 2015, it had received 33,408

 warranty reports alleging “loss of motive power” & “no starts” on vehicles with DPS6

 transmissions identified in warranty analysis in all regions based on the MAM communications

 concerns detailed above.”12

         271.    In March 2016, Ford (via its wholly owned subsidiary Ford of Australia) made a

 similar presentation to the Australian Competition and Consumer Commission (ACCC) about the

 complaints regarding the DPS6 by enumerating its actions to repair vehicles via a Technical

 Service Bulletin. A month earlier, the Australian Department of Infrastructure and Regional

 Development, which assists the ACCC on matters of vehicle safety, initiated an investigation based

 on “several complaints over the past four years relating to 2010- 2014 Ford Focus and Ford Fiesta

 transmissions. “The Department considers reports of safety issues of non-compliant standards, and


 11
    VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 12
   VGS7-0179114; Field Review Committee Fact Sheet Draft; undated.

                                                     194
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22             Page 195 of 235 Page ID
                                             #:195



 where a potentially systemic issue is identified, the Department may investigate further.” The

 DIRD sent seven complaints and asked Ford if it had received similar complaints and asked, “Is

 Ford aware of any reported safety incidents attributed to the dual clutch transmissions in Focus or

 Fiestas?”13

        272.    In January 2017, Ford made yet another similar presentation to the Thailand Office

 of the Consumer Protection Board, detailing the wet and dry shudder issues. It did not mention the

 solder cracks in the MAM. Again, Ford asserted:

        The quality issues do not pose safety concerns • Wet and dry clutch shudder affects
        drive quality only. Ford’s Automotive Safety Office (ASO) met with the US
        National Highway Traffic Safety Administration (NHTSA) to review the
        PowerShift quality issues and share field data. NHTSA reviewed the data, asked
        for additional data, and has not identified a safety defect. Ford Thailand has not
        received any reports of injuries relating to the PowerShift transmission quality
        concerns. Ford ASO has continued to monitor field data and has not identified a
        safety issue.14

        273.    In press statements, Ford continued to assert that the DPS6’s multiple defects did

 not threaten safety, nor did they cause crashes.

        274.    For example, in a statement intended for the European press about the leaking input

 shaft seals, Ford stated: “Is this a safety issue for customers? No. Our team has investigated every

 report. After an exhaustive engineering evaluation, we have identified the concern as a shift-quality

 issue, and not safety related.”15

        275.    In a statement intended for the Chinese press Ford similarly stated: “Is his a safety

 issue? Have you received any reports of injuries or accidents related to this issue? [PD] No.”16




 13
    Ford-DPS6-SAC- 00021948; Ford Focus and Fiesta Transmission Complaints [SEC=UNCLASSIFIED]; Caitlin
 Arnold; Department of Infrastructure and Regional Development.
 14
    Ford-DPS6-SAC 0012328; Meeting with OPCB; Ford Motor Company; January 20, 2017.
 15
    VGS5-00324037; DPS6 Quality Issue - European Perspective; Ford Motor Company.
 16
    VGS7-0130891; Questions to be answered; Ford Motor Company.

                                                    195
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22              Page 196 of 235 Page ID
                                             #:196



         276.    Contrary to these definitive public statements, in private/internal corporate

 communications Ford officials described the MAM failures as longstanding safety hazards and

 acknowledged that the cracks in the solder joints, along with the dry shudder and leaking input

 shaft seals defects were linked to crashes, injuries and one death.

         277.    In May 2011, a 2011 Fiesta was brought into service for a condition in which the

 vehicle went forward while in reverse gear. An email exchange between Ford engineers David

 Lemke and Tom Hamm noted: “Tom…make the call down there ASAP.. find out more details..

 Ford Safety Office wants to get involved.”17 And in another email related to this vehicle Hamm

 asks a colleague to prevent the dealer from swapping out the vehicle’s transmission before they

 can take a closer look: “I wouldn’t be asking if it wasn’t a safety issue.”18

         278.    In August 2012, Ford officials prepared a “white paper” to outline the problem:

 “Ford vehicles equipped with DPS6 transmission may experience a loss of motive power due to

 an issue with the DPS6 MAM. Approximately 2.1M global vehicles have been produced with

 potential for this concern. A Permanent Corrective Action (PCA) has been identified and will be

 in production by March 2015. Purchasing is working with the MAM supplier to increase

 production capacity for additional service parts supply.”19

         279.    In an August 13, 2012, internal email exchange regarding the DPS6 MAM among

 Ford transmission engineers, Jay Richardson of Ford’s “6F15/DPS6/MPS6/FN Transmission

 Planning Powertrain Strategy & Business Office” noted: “This being said, Roger has passed on




 17
    VGS20039682; FW: Report Summary for the CQIS Report#BEFAK003; David Lempke; May 9, 2011.
 18
    VGS20039744; RE: Vehicle located at Hampstead, N.Y. Tom Hamm; May 10, 2011.
 19
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.

                                                   196
Case 2:22-cv-05035-AB-PVC             Document 1 Filed 06/17/22               Page 197 of 235 Page ID
                                              #:197



 that this is a Safety issue. If that is true, then this is a must do regardless of business case. The

 paper needs to clearly point out this issue.”20

         280.    In 2013 (contrary to Mr. Kwasniewicz’s later assertion), Ford and Getrag engineers

 were able to witness first-hand DPS6 safety concerns, such as the “slingshot” behavior:

         John and I were at a dealer last week and invited the Getrag team to come along- to
         get some real world feel of tech issues - unfortunately the guy didn’t have bring
         equipment with him - we drove a vehicle that had a sling shot affect during slight
         power on down shifts what do you do for that one??? tell customer its normal and
         they wasted their time bringing it in, perform the IDS routines and adaptive drive
         and see if that helps or slap a TCM or a clutch into it - or both. These are the
         situations we need deeper diagnostics.21

         281.    In January 2014, Ford issued a “White Alert,” defined as a “report of possible safety

 or regulatory concern,” for a customer concern described as “an engine stall while driving, hard to

 start.”22

         282.    In a March 26, 2014, internal email exchange that included Gunnar Hermann, Ford

 of Europe’s vice president for quality and Mr. Kwasniewicz, Ford employees admitted that the

 stalling reports were safety concerns: “Ted, Scott during my visit here in Israel, I was confronted

 with 4 cases, where stall conditions occurred while driving. This is clearly a safety related issue.

 Can you share your workplans please, need to understand how far we are away from a solution. I

 would appreciate your feedback.”23

         283.    In January 2015, an engineer discussing a Field Service Action related to the MAM

 defect noted that solder cracks on ACT 91 were a safety hazard: “Not sure 106 DTC’s should be

 included as they don’t have the safety issue the 91 does ... as they maintain ASM 3 speed.24



 20
    VGS20149430; DPS6 NG MAM Paper; Jay Richardson; Ford Motor Company; August 13, 2012.
 21
    RE: AVL Data from Ford Fiesta/Focus; Jeremiah Cannon; Ford Motor Company; April 4, 2013.
 22
    VGS20207472; RE: Israel White Alert for Stall; Mark Thompson; Ford Motor Company; January 22, 2014.
 23
    Subject: AW: Israel White Alert for Stall; Gunnar Hermann; Ford Motor Company; March 26, 2014.
 24
    VSG7-0163883 RE FSA; Jerimiah Cannon; Ford Motor Company; January 14, 2015.

                                                     197
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22            Page 198 of 235 Page ID
                                               #:198



           284.    Over a two-year period from September 2014 to August 2016, Ford engineers

 opened three 14D investigations – one into the MAM/ATIC chip failures, one into the leaking

 input shaft seal problem and one into the dry shudder problem. A 14D is often a precursor to a

 recall. According to Ford’s FMEA Handbook:

           Before an automotive manufacturer engages in a campaign, there has been thorough
           investigation and analysis of the issue. Often this analysis begins with a Global 8D
           where the root cause which generated the in field defect to occur is determined.
           Additionally, the “escape” root cause is determined. In other words, how did the
           product testing miss this defect? Corrective actions are targeted at both items and
           implemented as part of the correction to the vehicles in question. When an issue is
           raised to a recall, the Global 8D will have additional information added, and it will
           become a 14D. Both of these investigations characterized the problems as design
           defects and noted crashes and injuries associated with these defects.25

           285.    On or about September 2014, Ford engineers initiated a 14D to analyze the leaking

 input shaft seal problem and noted: “Ford Transmission Driveline Engineering (TDE) has sealing

 system design rules that apply to internal designs.

           286.    As noted, supra, Ford did not share with various governmental agencies the extent

 of its knowledge of the various defects, nor of the crashes and injuries associated with them.

 Indeed, the NHTSA review into the DPS6 transmission defects never led to an actual defect

 investigation because Ford never disclosed the full details about the safety issues.

           287.    As a result, Ford was successful in avoiding both a rapid decline in sales and safety

 recalls by hiding the DPS6 safety defects from consumers and regulators.

           288.    Rather than issue safety recalls for a problem Ford could not “fix,” Ford instead

 launched four different “Special Customer Service Campaigns” from 2011 to 2016, which merely

 extended the warranty duration for Focus and Fiesta vehicles plagued by leaking input shaft seals




 25
      FMEA Handbook; Version 4.2; Pg Glossary-2; Ford Motor Company 2011.

                                                     198
Case 2:22-cv-05035-AB-PVC                Document 1 Filed 06/17/22                 Page 199 of 235 Page ID
                                                 #:199



 and the MAM solder cracks.26 In addition, Ford issued no fewer than 17 Technical Service

 Bulletins (TSBs) from 2010 to 2016 outlining Ford-recommended repair procedures for a litany

 of DPS6 Transmission problems.

         289.     In July 2017, the Australian Competition and Consumer Commission initiated

 proceedings against Ford, “alleging that it engaged in unconscionable and misleading or deceptive

 conduct and made false or misleading representations in its response to customer complaints.”

 Specifically, the ACCC alleged that Ford consistently “lied to its customers about the nature of the

 defect – blaming it on their driving styles, rather than the transmission. About 35,000 vehicles sold

 in Australia had at least one repair relating to the DPS6 transmission, yet Ford refused to provide

 a refund or replacement vehicle to consumers, even after multiple repairs did not fix the issues. In

 most cases, Ford only provided replacement vehicles in accordance with its “PowerShift

 Ownership Loyalty Program,” which required consumers to make a significant payment [$7,000]

 towards a replacement vehicle.”27

         290.     In April 2018, Australia’s Federal Court ordered Ford to pay a (AUS)$10 million

 fine for “unconscionable conduct.” In addition, Ford had to establish a program to review customer

 requests for refunds or replacement vehicles made between May 1, 2015, and November 1, 2016,

 and to provide customers with access to more information about their cars, including the history

 of manufacturing defect repairs performed on their vehicles.28

         291.     In 2018, Ford was forced in a civil trial in Thailand to compensate 291 Focus and

 Fiesta owners for selling substandard vehicles. In the country’s first verdict in a class-action ruling,


 26
    Customer Satisfaction Program 11B31, Ford Motor Company, January 13, 2012; Customer Satisfaction Program
 14M01; Ford Motor Company; July 21, 2014; Customer Satisfaction Program 14M02; Ford Motor Company;
 February 20, 2015; Customer Satisfaction Program 15B22; Ford Motor Company; August 4, 2015.
 27
    ACCC takes action against Ford; press release; Australian Competition & Consumer Commission; July 27, 2017.
 28
    Court orders Ford to pay $10 million penalty for unconscionable conduct; press release; Australian Competition &
 Consumer Commission; April 26, 2018.

                                                        199
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22                Page 200 of 235 Page ID
                                               #:200



 the South Bangkok Civil Court ordered Ford Sales & Service to pay between 20,000 and 200,000

 baht each, plus a 7.5% interest rate a year, for repair costs and lost time. “The award was for the

 production of unsafe, substandard and defective vehicles which put drivers at risk.”29

      FORD FAILED TO COMPLY WITH ITS REGULATORY OBLIGATIONS AND
                      REPORTING RESPONSIBILITIES

           292.   As a global automaker, Ford is aware of its safety recall obligations under

 controlling U.S. law; and has issued safety recalls for vehicles with defects that cause unintended

 stalls.

           293.   This controlling U.S. law includes, but is not limited to, Title 49, section 573 of the

 Code of Federal Regulations, entitled, “Defect and Noncompliance Responsibility and Reports,”

 sets forth the obligations and responsibilities of motor vehicle manufacturers such as Ford under

 49 U.S.C. §§ 30116-30121 (a portion of the National Traffic and Motor Vehicle Safety Act)

 regarding safety-related defects and noncompliance with Federal Motor Vehicle Safety Standards

 (FMVSS).30 Among those obligations are reporting requirements to the National Highway Traffic

 Safety Administration (“NHTSA”) to inform the agency of defective and noncomplying vehicles

 and equipment, and to allow NHTSA to assess the adequacy of manufacturers’ defect and

 noncompliance notification campaigns, of the corrective action, the owner response, and to

 compare the defect incidence rate among different groups of vehicles.31 Manufacturers are required

 to furnish a report to NHTSA “for each defect in his vehicles or items of original or replacement

 equipment that be or the Administrator determines to be related to motor vehicle safety, and for




 29
    Ford Thailand Ordered to Compensate Focus and Fiesta Owners for Selling Substandard Vehicles; Chiang Raj
 Times; September 22, 2018.
 30
    49 CFR § 573.
 31
    49 CFR § 573.2.

                                                      200
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22             Page 201 of 235 Page ID
                                             #:201



 each noncompliance with a motor vehicle safety standard in such vehicles or items of equipment

 which either be or the Administrator determines to exist.”32

         294.     Further, under the Motor Vehicle Safety Act, 49 U.S.C. 30101, “motor vehicle

 safety” is defined in relation to NHTSA’s enforcement and regulatory authority as the “the

 performance of a motor vehicle or motor vehicle equipment in a way that protects the public

 against unreasonable risk of accidents occurring because of the design, construction, or

 performance of a motor vehicle, and against unreasonable risk of death or injury in an accident,

 and includes nonoperational safety of a motor vehicle.”33 This regulation sets a “5 working day”

 deadline for a manufacturer to make such notification:

         Each report shall be submitted not more than 5 working days after a defect in a
         vehicle or item of equipment has been determined to be safety related, or a
         noncompliance with a motor vehicle safety standard has been determined to exist.34

         295.     Plaintiffs are informed and believe, and on that basis allege, that Ford violated this

 reporting requirement by failing to report the safety-related defects, accidents, incidents and other

 matters alleged above to NHTSA within the mandatory five working day period.

         296.     Moreover, Ford consciously avoided a recall of the DPS6 transmission by claiming

 to several governmental authorities around the globe, including NHTSA, that the DPS6

 transmission’s multiple malfunctions only amounted to “customer satisfaction issues” and had not

 been linked to crashes, injuries and fatalities.

         297.     Ford understood its obligations under federal regulations to report these safety

 defects to the NHTSA, but rather than comply with federal law, Ford instead created a false




 32
    49 CFR § 573.6.
 33
    49 USC § 30102(a)(9).
 34
    49 CFR § 573.6.

                                                    201
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22                Page 202 of 235 Page ID
                                               #:202



 narrative to NHTSA to forego a safety recall by focusing on improving the warning to customers

 before an impending transmission failure.

         298.    Ford has two divisions devoted to ensuring that its products meet all Federal Motor

 Vehicle Safety Standards and regulatory responsibilities – the Automotive Safety Office (ASO)

 and the Office of the General Counsel (OGC). According to Ford: “The Automotive Safety Office

 Serves as primary interface with organizations that deal with vehicle safety and defect/compliance

 matters and contributes technical advice to government agencies regarding safety rulemaking. We

 also provide technical analysis related to field performance of Ford vehicles.”35 In addition, Ford’s

 Office of General Counsel “interfaces with regulatory agencies, including EPA, NHTSA, EEOC

 and state attorneys general.”36 Further, in Ford’s 2014 Corporate Sustainability Report, Ford

 demonstrates its knowledge of its obligations under the Safety Act:

         In the U.S., the National Traffic and Motor Vehicle Safety Act of 1966 (the “Safety
         Act”) regulates vehicles and vehicle equipment in two primary ways. First, the
         Safety Act prohibits the sale in the United States of any new vehicle or equipment
         that does not conform to applicable vehicle safety standards established by the
         National Highway Traffic Safety Administration (NHTSA). Second, the Safety Act
         requires that defects related to motor vehicle safety be remedied through safety
         recall campaigns.

         Manufacturers are obligated to recall vehicles if they determine the vehicles do not
         comply with a safety standard or contain a defect affecting safety.37

         299.    Further, Ford’s internal process documents remind employees of these obligations.

 For example, in July 2013, Ford employees Joseph Borneo and Robin Buseck requested that Ford’s

 6-Sigma Center initiate a “Things Gone Wrong” (“TGW”) Task Force to conduct a consumer

 survey on the problems with the Focus and Fiesta DPS6 to determine how drivers experienced the


 35
    Ford Automotive Safety Office;
 https://corporate.ford.com/careers/departments/sustainability-environment-and- safety-engineering.html.
 36
    Ford Office of the General Counsel;
 https://corporate.ford.com/careers/departments/office-of-the-general- counsel.html.
 37
    2014-15 Ford Sustainability Report.

                                                     202
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 203 of 235 Page ID
                                            #:203



 transmission defect.38 As part of this process, the form used to make the request emphasized that

 the Ford Automotive Safety Office or the Office of General Counsel may ask for the results to

 satisfy a NHTSA inquiry. It also noted that any Transportation Recall Enhancement,

 Accountability and Documentation (TREAD) Act-reportable information obtained by the survey

 must be included in Ford’s quarterly TREAD submission.

        300.    This knowledge is evident in Ford’s internal communications regarding the defects

 in the DPS6 transmission, in which Ford employees discuss scenarios that could prompt a recall,

 and ways to avoid triggering a TREAD reportable incident or the attention of the regulators.

        301.    For example, in January 2009, Ford engineers exchanged information indicating

 that Ford was aware that other manufacturers had launched recalls for defects like those that could

 affect the DPS6 transmission. In a January 21, 2009 email, Mr. Kirchhoffer shared a Daimler

 Trucks recall of 2,426 Thomas Built Buses, in which the automatic transmission control module

 could become corroded due to water and road spray intrusion, causing the starter motor to engage

 unexpectedly or the backup lights to operate intermittently.39

        302.    Mr. Kirchhoffer reminded his colleagues how severity levels assigned on the

 FMEA related to field actions later:

        From the Campaign Prevention team and connecting to the CP DD2 I would like
        to share with you the attached information about a campaign/field service Action,
        concerning a TCU exposed to splash water and corrosion similar to the MAM on
        the DPS6. The Failure Modes affecting the Back Up Light and Cranking leading to
        ‘Unexpected Vehicle Movement’ or Traffic Irritation are affected. This is effecting
        item 2.1.2) - Back Up Light Function - from the Electrical FMEA and item 2.4)
        concerning the Mechanical FMEA, failure modes leading to the back up light
        electrical malfunction. This an additional awareness item with respect to the YC
        classifications isolated under items 2.1.2 and 2.4!40

 38
    VGS20130916; 6-Sigma Center Survey Request Form; Ford Motor Company; July 18, 2013.
 39
    VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
 Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.
 40
    VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
 Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.

                                                 203
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22               Page 204 of 235 Page ID
                                               #:204




         303.    Ford employees also discussed how to go about repairing vehicles with DPS6

 Transmission Defects using protocols that would not violate the TREAD Act. Thus, Ford

 demonstrated its knowledge that customer complaints and warranty claims are reportable events.

         304.    In an internal September 6, 2016 email string, Craig Renneker, the Ford Chief

 Engineer for Front-wheel-drive A/T & D/l Systems Transmission & Driveline Engineering,

 discussed fixing the clutch in a DPS6 transmission of a Detroit school teacher who had complained

 about the problems with his new Focus to a former Ford employee, now a reporter with Crain

 Communications. Renneker warned that the company protocol must be followed to avoid a

 TREAD Act violation: “Yes - this is a concern (TREAD Act), which is why we need to follow the

 FCSD “VIP Ticket” process. Please call Paul S. directly to coordinate.41

         305.    In another Ford internal email string dated May 24, 2017, Mr. Renneker discussed

 fixing a DPS6 clutch for a customer out of warranty:42

         Mike;

         She has an 8080 clutch installed at 80k miles. Replacing hers with an 8040 will
         give us a “picky customer” data point to check the efficacy of the new material. Are
         you saying that the 8080 clutch replaced under the FSA itself has a 2 year/24 month
         warranty that would cover the full cost (parts and labor) to give her a new 8040?
         She is specifically complaining about the judder, but believes that there is nothing
         else the dealer can do. If the warranty does NOT cover her, do we have an approved
         procedure for an engineering investigation to replace her clutch/trans with
         engineering$? I’m mindful of TREAD act.

         Guys;

         Thanks. Please don’t pull the trigger on this yet. I’ve had 5 notes back/forth between
         me and the FCSD Director. I want to take care of this, but need to do it EXACTLY
         the right way. I hope to be able to give clear direction yet today. They have another
         funding mechanism that may be a better path as this has senior executive attention.

 41
    Ford DPS6-SAC 00038320; RE: Hey, Bob ... (Rich Truett email on 2015 DPS6 Focus); Craig Renneker; Ford
 Motor Company; September 6, 2016.
 42
    Ford-DPS6-SAC 00054061; Subject: RE: Replacing transmission on out-of-warranty vehicle for engineering
 feedback; Craig Renneker; Ford Motor Company; May 24, 2017.

                                                     204
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22              Page 205 of 235 Page ID
                                             #:205




         306.    In at least one instance, Ford engineers actively discussed how to avoid triggering

 government attention that might lead to a recall. In a Ford internal email string dated March 4,

 2013, Ford engineers discussed yet another emerging defect issue involving the DPS6’s

 transmission in which the shift drums failed to achieve proper referencing:

         On every start-up the shift drums will move to the end stop and confirm position.
         This is done for safety reasons as the control system needs to know the exact
         position of the synchros to prevent an unintended movement. The failure to achieve
         proper reference is usually caused by low system voltage during crank (low voltage
         can either inhibit the driving force of the shift drum), it could also indicate a motor
         problem or a mechanical blockage…As a result of the continuous learnings, there
         have been multiple changes to fine tune the referencing sequence to stagger the
         shift drum movement so that the system voltage has recovered from the engine start.
         Whenever the transmission fails to achieve the reference position it sets an internal
         code (P2832 or P2837) and temporarily disables the gears which did not reference
         correctly.43

         307.    In response, Ford DPS6 Transmission Manager, Christopher Kwasniewicz, noted

 that Ford was about to release a TSB for transmission shudder, which would require a software re-

 flash the calibration, even though it might set error codes that would send the customer back to the

 dealer. This situation was preferable to dealership techs replacing clutches, which was costing Ford

 $3 million a month in warranty costs.44

         308.    Indeed, Ford had cast the DPS6 transmission’s myriad of failures as a design

 problem, owned by Getrag.45 And trying to fix the problems had been enormously expensive for

 Ford.




 43
    VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Piero Aversa; Ford Motor
 Company; March 2, 2013.
 44
    VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Chris Kwasniewicz; Ford Motor
 Company; March 2, 2013.
 45
    VGS21355122; FW: DPS6 Getrag Status Update; Allyson Waldman; Ford Motor Company; March 24, 2014.

                                                   205
Case 2:22-cv-05035-AB-PVC               Document 1 Filed 06/17/22                 Page 206 of 235 Page ID
                                                #:206



         309.     In a March 10, 2014 letter to Getrag, Ford’s Global Director, Powertrain Installation

 Purchasing, Alan Draper, noted that fixing the leaking input shaft seals alone would cost Ford

 hundreds of millions of dollars:

         After considerable technical analysis into the DPS6 seal leak concerns, Ford has
         determined that the appropriate remedy for affected vehicles is to initiate two
         separate customer satisfaction actions aimed at maintaining confidence in vehicles
         equipped with DPS6 transmissions built prior to the incorporation of the shaft seal
         material change in 2013.

                  1.       Proactive seal repair of 856K DPS6 equipped vehicles
                  2.       Extended warranty for 1.4M DPS6 equipped vehicles (including
                           vehicles campaigned for the proactive seal repair)

         The initiation of these actions along with the corresponding customer notification
         is pending completion of a robust service part supply plan. Getrag’s support of this
         plan is recognized, and I ask for your team’s continued help as we work to finalize
         the details. At this time, we are forecasting that these actions alone will cost us over
         $650M through the 2019 calendar year in addition to our normal warranty
         coverage.46

         310.     Ford knew from years of experience of working with the NHTSA that the agency

 tended to evaluate the recall potential for a defect that caused an engine stall or a loss of motive

 power, based on whether the particular condition gave the driver any warning of the impending

 stall and whether the driver could quickly recover motive power.

         311.     The NHTSA’s position has its roots in a 1986 study commissioned by the U.S.

 Department of Transportation Research and Special Programs Administration. The Transportation

 Systems Center issued a report which attempted to identify “patterns which could yield insight

 concerning the safety implications of stalling,” “high-risk stalling situations;” and “high-risk

 vehicles/components.”47 The researchers looked at complaints, calculated crash rates and

 compared these data to a sample of investigations which resulted in recalls or were closed with no


 46
   VGS20415045; Alan Draper Letter; Ford Motor Company; March 10, 2014.
 47
   Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.

                                                       206
Case 2:22-cv-05035-AB-PVC               Document 1 Filed 06/17/22                Page 207 of 235 Page ID
                                                #:207



 findings. The researchers also analyzed a sample of the crash reports “to determine which vehicle

 characteristics and stalling circumstances were related to serious safety problems.”48

         312.     The researchers concluded that stalling incidents that occur without warning, at

 high speeds, or upon acceleration are associated with stalling-related accidents more frequently

 than other types of stalling problems. For example, loss of power steering or brakes due to stalling

 is cited as a common accident cause.49 In cases of a total loss of control, nearly half were involved

 in accidents. In addition, the 4.8 percent of drivers who had no warning of the stalling incident

 before it occurred were involved in accidents approximately 13 times more other than those who

 had some warning prior to their stalling incident.50

         313.     With that in mind, Ford worked assiduously to avoid fulfilling its recall

 responsibilities, by persuading NHTSA that drivers who experienced a loss of motive power due

 to the solder crack issue in the MAM could quickly recover.51 And, rather than recall and replace

 the defective clutches, or buy back the vehicles, Ford engineers proposed a $1.5 million project to

 “develop and test a software strategy that provides early warning to the customer (Overt Detection)

 prior to a MAM concern that may result in the loss of motive power.”52

         314.     Among the benefits outlined were a faster implementation of a software reflash of

 the MAM, avoiding customer dissatisfaction because drivers would have time to “schedule MAM

 replacement at the dealer, prior to MAM concern that has the potential to leave them stranded,”



 48
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 49
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 50
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 51
    VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 52
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.

                                                      207
Case 2:22-cv-05035-AB-PVC             Document 1 Filed 06/17/22              Page 208 of 235 Page ID
                                              #:208



 and reduce costs by spreading the demand for MAM replacements over time.53 Finally, the

 proposal noted that an overt detection strategy would “satisfy NHTSA - Overt Detection is a pro-

 active action to protect our customers, which will more easily satisfy NHTSA’s requirements.”54

         315.    This latter idea was also expressed in Ford communications regarding its

 presentation to the Australian government probing the failures of the DPS6. On March 8, 2017,

 Mariusz Czubek, a specialist with the Ford AP Warranty Spend Reduction Group, contacted Ford

 Engineer Jonathan Graves of the DPS6 Transmission group for information to aid his analysis on

 the effectiveness of the new software re-flash under Customer Satisfaction Campaign 15B221

 which caused a warning light “to come up and hopefully prevent them ‘getting stuck.’”55 In reply,

 Mr. Graves noted: “15B22 was released to satisfy NHTSA recall requirements and updates each

 vehicle to Overt Software for early detection of solder cracks.”56

         316.    In its reply to the NHTSA’s information request, Ford was prepared to stake its

 position against a recall on the argument that other systems, such as noting that the brakes and

 airbags and steering still worked, that there was a warning to the driver, and that new software

 would make the driver aware of the need for service before the cracks grew large enough to cause

 serious problems. According to a draft response, Ford officials noted:

         Closing rationale -This should include:

         •       Because solder fatigue crack propagation is progressive in nature,
                 associated warnings and drivability symptoms are progressive in nature, as
                 well. Of customers that allege to have eventually lost mobility, the majority
                 said they were able to regain mobility either immediately or within minutes
                 by moving the shift lever or cycling the key.


 53
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.
 54
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.
 55
    DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Mariusz Czubek March 10, 2017.
 56
    DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Jonathan Graves; March 10, 2017.

                                                    208
Case 2:22-cv-05035-AB-PVC               Document 1 Filed 06/17/22                 Page 209 of 235 Page ID
                                                #:209



         •        Other vehicle systems such as power steering, power brakes, restraint
                  systems, electrical functions, etc. are unaffected
         •        Ford’s extended warranty letter to customers highlights the vehicle
                  symptoms associated with this condition, and provides financial coverage
                  in order to encourage vehicle repair before the symptoms progress in nature.

      FORD HAS CONDUCTED SAFETY RECALLS AS TO DEFECTS THAT CAUSED
      STALLS VIRTUALLY IDENTICAL TO THE UNINTENDED NEUTRAL EVENTS
               THAT MAKE THE DPS6-EQUIPPED VEHICLES UNSAFE

         317.     Ford is “on notice,” due to its history of selling defective vehicles and regulatory

 enforcement actions and court proceedings, that it is legally required to recall vehicles that suffer

 from unintended neutral/loss of motive power/stall condition events.

         318.      In the last 15 years, Ford has launched seven (7) such recalls – including four

 between 2012 and 2016, the same period in which Ford avoided recalls for unintended neutral/loss

 of motive power conditions caused by the DPS6 transmission.

         319.     In 2003, Ford became the only automaker to issue a judicially ordered recall for a

 stalling condition, after two decades of failed NHTSA investigations. From 1982 to 1997, the

 NHTSA investigated ignition module failures, but Ford misled the agency for years about the

 causes of stalling (affecting multiple models and model years) with no consequences to the

 company. In the absence of accurate information from Ford, NHTSA’s Office of Defect

 Investigations (“ODI”) was unable to identify the failure. Thus, the ignition defect bears the

 distinction of being the first court-ordered recall outside of the NHTSA.

         320.     The ignition module defect caused loss of power like that affecting the DPS6

 equipped vehicles. Ford’s ignition system57 was heat-sensitive, yet Ford placed it in the hottest

 location under the hood; at certain temperatures the module would cut out, causing the vehicle to




 57
   The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.

                                                       209
Case 2:22-cv-05035-AB-PVC               Document 1 Filed 06/17/22                  Page 210 of 235 Page ID
                                                #:210



 stall at highway speeds.58 After four years, Ford’s warranty data showed that the return rate far

 exceeded projections, but many of the returned parts did not exhibit the failure mechanism because,

 once cooled down, the component would resume working. Ford eventually identified the problem

 but failed to act on its knowledge.59

         321.     The NHTSA launched five investigations but could not definitively isolate a root

 cause of the stalling, in part because Ford withheld documents that would have shown the effect

 of thermal stress on the ignition modules resulted in stalling, instead of a range of drivability issues.

         322.     In 1987, the NHTSA examined the stalling issue in 2.6 million 1983 through 1986

 Escort, Tempo, Mustang, LTD, Thunderbird, EXP, Cougar, Topaz, Capri, Merkur, Lynx and

 Marquis vehicles equipped with 1.6 liter or 2.3-liter engines. The NHTSA’s Office of Defects

 Investigation investigated based on 33 stalling complaints; Ford located another 1,819 field reports

 and 649 complaints, but it combined different complaints into one pool of “failure to start the

 engine, poor engine performance and engine stalling.”60

         323.     Ford cast the DPS6 defect as a drivability issue: “As we have stated to the agency

 in the past, today’s engine and emission system controls have become very intricate and the

 diagnoses of drivability and/or stalling conditions have likewise become very difficult.”61

         324.     Both Ford and NHTSA conceded that the ignition module was to blame:

         Clearly evident is the fact that Ford experienced a massive engine controllability
         problem with the introduction of a new thick film ignition module (TFI) in the 1.6
         and 2.3 liter engines…Ultimately, Ford engineers identified the root cause of the
         problem to be thermal fatigue of the TFI ~ transistor assembly and integrated circuit




 58
    The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.
 59
    The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.
 60
    PE87-028; Opening Letter; National Highway Traffic Safety Administration; May 12, 1987.
 61
    PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.

                                                        210
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22                Page 211 of 235 Page ID
                                               #:211



         failures which were aggravated by elevated engine compartment temperatures and
         by thermal cycling.62

         325.    But Ford misled the NHTSA about the scope of the problem and oversold its ability

 to resolve the issue.63

         326.    A class action lawsuit on behalf of Ford owners prompted the NHTSA to open a

 sixth investigation in 1997, which revealed that Ford had failed to produce documents to the

 agency. By then, the eight-year statute of limitations on recalls had passed, and the civil penalties

 the agency could have imposed were low.64 In 1999, the lawsuit ended in a hung jury, but resulted

 in a judicially ordered recall. Ford eventually settled the litigation in 2003 by doubling the

 component’s warranty.

         327.    Another recall also illustrates Ford’s refusals to accept responsibility for loss of

 power problems. In April 2004, a NHTSA probe forced Ford to recall 321,903 2001-2003 Escape

 vehicles for a condition in which a fuel-rich mixture could cause the vehicles to stall during

 decelerations at speeds below 40 mph.65 In its Part 573 Notice of Defect and Noncompliance, Ford

 argued that the vehicles were still controllable and re-started immediately:

         Ford’s investigation found that the vehicles remained controllable after such engine
         stalls and can readily be maneuvered off the roadway. Further, the vehicles
         typically restart immediately, and some owners reported starting their vehicle
         without coming to a stop coming to a stop. While it may be argued that stalling
         under certain conditions may increase the risk to safely, the stalling characteristics
         in this population of vehicles do not pose an unreasonable risk of accident or injury.
         The reports in this investigation clearly bear this out. Ford does not by taking this
         action, admit that a safety defect exists in these vehicles nor does Ford believe that
         engine stalling presents an unreasonable risk to motor vehicle safety. Ford Believes
         that the agency should update its earlier study of engine stalling as a sequel to the



 62
    PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.
 63
    Howard v. Ford’ Plaintiff’s Opening Trial Brief; Phase Two; June 12, 2000.
 64
    Lawsuit Asserts Ford Knowingly Installed Defective Mechanism in Millions of Vehicles; Tim Golden; The New
 York Times; September 6, 1997.
 65
    Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.

                                                     211
Case 2:22-cv-05035-AB-PVC             Document 1 Filed 06/17/22                Page 212 of 235 Page ID
                                              #:212



         earlier “Analysis of Stalling Problems,” sponsored by The Transportation System
         Center.66

         328.    In June 2005, Ford recalled 180,104 Ford F-SuperDuty, Excursion, and E-Series

 vehicles from the 2004-2005 model years, equipped with 6.0l diesel engines, for reported engine

 stalling to address two wiring related conditions, specifically that the FICM wire harness chafing

 or improper ICP sensor connector crimps could cause the vehicle to stall without warning, with no

 re-start.67 Ford argued that the stalling hadn’t caused any injuries or crashes:

         Ford’s investigation has demonstrated that the reported stalling incidents in the
         affected vehicles do not present an unreasonable risk to safety. The vehicles remain
         controllable in the event of stalling. Real world performance, with virtually no
         accidents or injuries, supports our analysis. Nonetheless, to address customer
         satisfaction concerns and to avoid prolonged discussions with the agency, we are
         conducting this recall.68

         329.    In January 2012, the NHTSA compelled Ford to recall 205,896 2004 and 2005

 model year Ford Freestar and Mercury Monterey vehicles for problems that cause torque converter

 malfunctions and engine stalls. In its responses to an agency investigation, Ford laid out all of the

 same “controllability” arguments against a finding of a safety defect: According to Ford, the

 vehicle “remains readily controllable; the vehicle will coast during which it can be safely

 maneuvered and stopped because the engine continues to run. Because the engine continues to run,

 steering and braking are unaffected, and the vehicle’s electrical system and directional signals

 remain functional. Further, the transmission park system remains fully functional. At that time

 only one ambiguous, alleged minor accident involving a vehicle trailing behind the Freestar was




 66
    Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.
 67
    Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
 68
    Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.

                                                     212
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22         Page 213 of 235 Page ID
                                               #:213



 identified with no alleged injuries.”69 Ford eventually launched a recall to “avoid a protracted

 dispute with the agency.”70

         330.    In October 2013, Ford recalled 2,456 Focus Electric vehicles (model years 2012-

 2014) for a failure of the Power Control Module. The defect caused “a sudden loss of motive power

 while driving, increasing the risk of a crash.”71 Drivers received warning in the form of “a red

 triangle indicator and the message ‘Stop Safely Now’ in the instrument cluster.” Ford’s Part 573

 Recall Notice further stated that other safety-critical functions – “vehicle brake and steering

 systems will continue to operate normally and vehicle can often be restarted after going through a

 shutdown process.”72 According to the chronology Ford filed with its Part 573, Ford’s Critical

 Concern Review Group initially wanted to pass off the issue as a customer satisfaction matter –

 despite 16 reports of “Focus Electric vehicles experiencing loss of mobility accompanied by a

 “Stop Safely Now” message in the instrument cluster.” However, after the NHTSA opened a

 preliminary evaluation (PE13-031) into the issue as it affected 2012-2013 Focus Electric vehicles,

 the CCRG found additional reports and recommended a recall in October 2013.73

         331.     In 2016, Ford recalled 865 Focus Electric vehicles (2015-2016 model years)

 because increased friction and excessive wear of a certain gear shaft could result in overheating

 and eventual fracture of the shaft or pinion gears. This could lead to loss of motive power while

 driving and loss of the transmission park function without warning, increasing the risk of a crash.”

 Ford claimed it was not aware of any warranty reports, accidents or injuries related to the defect.74




 69
    Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
 70
    Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
 71
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 72
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 73
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 74
    Recall 16V479; Defect and Noncompliance Notice; June 27, 2016.

                                                     213
Case 2:22-cv-05035-AB-PVC                Document 1 Filed 06/17/22        Page 214 of 235 Page ID
                                                 #:214



            332.     In August 2016, Ford recalled 77,502 2013-2015 Ford Taurus and 2013-2015 Ford

 Taurus Police Interceptor, Lincoln MKS and MKT vehicles, due to the malfunction of a

 component within the fuel Pump Electric Module (PEM) caused by elevated temperatures within

 the module. “Malfunction of the fuel PEM may result in an open circuit causing a loss of electrical

 power to the fuel pump. If this occurs, the customer may experience an engine no start or an engine

 stall. In some cases, the engine may stall without warning or the ability to restart.”75

            333.    In October 2018, Ford recalled more than 1.2 million 2012-2018 Ford Focus

 vehicles due to a malfunctioning Canister Purge Valve (CPV) that can stick open and a Powertrain

 Control Module (PCM) software that does not adequately detect a stuck-open CPV.76 In its Defect

 and Noncompliance notice, Ford noted that a stuck CPV “can cause excessive vacuum in the fuel

 vapor management system, potentially deforming the fuel tank. If this occurs, the customer may

 observe a Malfunction Indicator Light (MIL), inaccurate or erratic fuel gauge indication,

 drivability concerns or loss of motive power.”

            334.    In the case of the DPS6 Transmission, as in those prior cases, Ford actively

 concealed from the NHTSA its knowledge about the extent of the safety-related problems, and

 about the total number of crashes and injuries associated with the multiple DPS6 Transmission

 Defects. Ford took this course – not guided by engineering safety concerns – but out of political

 expediency with its supplier Getrag, and concerns about the enormous costs in delivering an

 effective repair or initiating a buyback program.




 75
      Recall 16V621; Defect and Noncompliance Notice; August 22, 2016.
 76
      Recall 18V735; Defect and Noncompliance Notice; October 22, 2018.

                                                       214
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22              Page 215 of 235 Page ID
                                             #:215



  FORD HAD EXCLUSIVE KNOWLEDGE OF THE TRANSMISSION DEFECTS AND
            FRAUDULENTLY CONCEALED THIS INFORMATION

         335.    Ford had superior and exclusive knowledge of the Transmission Defects, and Ford

 knew or should have known that the Transmission Defects were not known or reasonably

 discoverable by consumers before purchase or lease of the affected Focus and Fiesta vehicles.

         336.    Since at least 2010, Ford has known about the Transmission Defects through

 sources not available to consumers, including through Ford’s pre-release testing data, early

 consumer complaints to Ford and its dealers about the Transmission Defects, testing conducted by

 Ford in response to those complaints, Ford’s internal data showing high failure rates and

 replacement part sales, aggregate data from Ford dealers, and other Ford-proprietary sources of

 aggregate information about the problem including, but not limited to, similar defects in the

 substantially identical models sold overseas.

         337.    Ford knew about, and as a matter of business practice, failed to disclose and

 concealed, the Transmission Defects present in the DPS6-equipped Focus and Fiesta vehicles,

 along with the Transmission Defects’ dangerous safety and drivability problems, from consumers

 at the times of sale or lease, repair, and thereafter. In fact, instead of repairing defects in the DPS6,

 Ford frequently either refused to acknowledge the defects’ existence or performed superficial and

 ineffectual software upgrades that simply masked the symptoms of the Transmission Defects.

         338.    The existence of the Transmission Defects is a material fact that a reasonable

 consumer would consider when deciding whether to purchase or lease a vehicle equipped with a

 PowerShift Transmission.

         339.    Ordinary consumers reasonably expect that a vehicle’s transmission is safe, will

 function in a manner that will not pose a safety hazard, and is free from manufacturing defects.

 Ordinary consumers further reasonably expect that a car manufacturer will not sell or lease vehicles

                                                   215
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22         Page 216 of 235 Page ID
                                             #:216



 with known safety defects, such as the Transmission Defects, and will disclose any such defects

 to its consumers when it discovers them. They would not expect Ford to fail to disclose the

 Transmission Defects to them and to continually deny the defect.

                  FORD’S FAILURE TO DISCLOSE THE DPS6 DEFECTS

        340.    Ford has never disclosed the PowerShift Transmission Defects to consumers prior

 to their purchases or leases of affected vehicles, nor at any point during their ownership of such

 vehicles. Similarly, Ford never instructed its dealerships to disclose the PowerShift Transmission

 Defects to potential purchasers or lessees of vehicles equipped with the DPS6.

        341.    The PowerShift Transmission defect was not known or reasonably discoverable by

 ordinary consumers before purchase or lease, or without experiencing the defect firsthand and

 exposing themselves to an unreasonable safety risk.

        342.    Ford has remained silent publicly even as it issued service bulletins, conducted

 internal investigations, and witnessed the increasing failures of the DPS6 Transmission in its

 vehicles domestically and abroad.

        343.    Ford’s refusal to publicly acknowledge the defect has created widespread

 confusion. Ford’s failure to notify consumers, dealerships, or auto-technicians prevents

 PowerShift Transmission problems from being efficiently diagnosed. Drivers are led to believe

 that the problems they are experiencing are actually “normal characteristics” of the PowerShift

 Transmission. Likewise, the lack of information makes it less likely that dealerships and auto-

 technicians will be able to diagnose and fix the PowerShift Transmission Defects or advise a

 consumer about the dangers of driving the affected vehicle.

        344.    As a result of Ford’s inaction and silence, consumers were entirely unaware that

 they had purchased, and were continuing to drive, an unsafe and unreliable vehicle. As Ford



                                                216
Case 2:22-cv-05035-AB-PVC             Document 1 Filed 06/17/22          Page 217 of 235 Page ID
                                              #:217



 knows, a reasonable person would consider the PowerShift Transmission Defects important and

 would not purchase or lease a vehicle equipped with the PowerShift Transmission were its defects

 disclosed in advance or would pay substantially less for the vehicle.

               FORD ACTIVELY CONCEALED THE TRANSMISSION DEFECTS

           345.    As a result of the Transmission Defects, Ford was inundated with complaints

 regarding the PowerShift Transmission. In July 2011, Ford implemented a communications

 strategy intended to minimize certain behavior of the PowerShift Transmission in order to

 “improve customer expectations.” In a memo with instructions sent to Ford dealers and service

 personnel, which Ford intended its dealers and service personnel to rely on in their

 communications to consumers, Ford noted that “PowerShift optimizes fuel efficiency with up to

 40MPG and driving dynamic ‘Fun to Drive’ performance.” It further noted, “The PowerShift is

 really like two 3-speed manual transmissions put together, with the freedom of operating a clutch

 as the components are controlled electronically. Since most of the components are derived from a

 manual transmission, the PowerShift transmission will drive, sound, or feel like a manual

 transmission only the driver does not have to shift gears.”

           346.    Some of the common and “normal characteristics” of the PowerShift Transmission

 were listed as “double clicking metal sounds … of gears shifting and synchronizers (similar to a

 manual transmission);” a “slight gear whine while slowing or coasting,” and “a reverse trailer

 hitching feel (or a slight bumping feel) … at about 2MPH.” Ford also advised its dealers about low

 speed grinding, reverse gear whine, and “Green Clutches” which can “lead to a rattle noise” and

 “a take-off shudder /launch judder (shaky vs. smooth).” According to Ford, the shudder would

 become “progressively better … as the clutch breaks-in.”77



 77
      VGS21630260, EFC000562DC, Ford Motor Company, July 25, 2011.

                                                    217
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22             Page 218 of 235 Page ID
                                            #:218



          347.   However, despite Ford’s public insistence that these performance problems with

 the PowerShift Transmission were normal, in 2010 and 2011, Ford issued several TSBs to its

 dealers in the United States acknowledging defects in the PowerShift Transmission. Ford’s TSB

 from September 2010, covering the 2011 Ford Fiesta, informs dealers how to address and attempt

 to repair the PowerShift Transmission in response to “concerns such as no engagement or

 intermittent no engagement in Drive or Reverse when shifting from Park to Drive or Reverse,

 grinding noise during engagement, and/or a check engine light with transmission control module

 (TCM) diagnostic trouble code…”

          348.   Ford’s TSB released on January 1, 2011, covering the 2011 Fiesta with the

 PowerShift Transmission, informs dealers of problems with the PowerShift Transmission causing

 “a loss of power, hesitation, surge, or lack of throttle response while driving.”

          349.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

 dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

 only.”

          350.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

 TSBs addressed problems with the PowerShift Transmission including “concerns in Drive or

 Reverse when shifting from Park to Drive or reverse, no engagement, delayed engagement,

 intermittent engagement, noise during engagement…”

          351.   Plaintiffs are informed and believe, and on that basis allege, another Ford TSB

 released in September 2011 advised dealers to reprogram the transmission computer if 2011 Fiesta

 owners complained about “hesitation when accelerating from a low speed after coast down, harsh

 or late 1-2 upshift, harsh shifting during low-speed tip-in or tip-out maneuvers and/or engine r.p.m.

 flare when coasting to a stop.”



                                                 218
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 219 of 235 Page ID
                                            #:219



        352.    The 2012 Ford Focus was the subject of a Ford TSB in September 2011, which

 informed dealers of transmission problems including: “RPM flare on deceleration coming to a

 stop, rough idle on deceleration coming to a stop, intermittent engine idle fluctuations at a stop,

 intermittent vehicle speed control inoperative, intermittent harsh engagement/shift…”

        353.    In December of 2011, Motor Trend magazine called these efforts by Ford a “stealth

 upgrade” and noted that while “[t]here’s no official recall or service campaign… anybody who

 complains or requests an upgrade at the dealership can have their powertrain control computer re-

 flashed.”

        354.    Plaintiffs are informed and believe, and on that basis allege, the software upgrades

 recommended and encouraged by the various TSBs issued by Ford were completely ineffective at

 addressing the Transmission Defects.

        355.    When consumers present vehicles equipped with the PowerShift Transmission to

 an authorized Ford dealer for repair to the transmission, rather than inform consumers of the

 Transmission Defects or conclusively repair the problem under warranty, Ford’s dealers and

 authorized repair facilities either inform consumers that their vehicles are functioning properly, or

 perform superficial and ineffectual software updates that delay or mask the manifestation of the

 Transmission Defects in an attempt to avoid more comprehensive and expensive repairs or

 replacements under the warranty.

        356.    To this day, Ford still has not publicly acknowledged that the Powershift

 Transmission suffers from a systemic defect or defects, that cause(s) the transmission to

 malfunction.




                                                 219
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22            Page 220 of 235 Page ID
                                           #:220



                                      CAUSES OF ACTION

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        357.    The Texas Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        358.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        359.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        360.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        361.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        362.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        363.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        364.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).




                                                220
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 221 of 235 Page ID
                                            #:221



        365.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        366.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        367.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        368.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford




                                                 221
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22           Page 222 of 235 Page ID
                                           #:222



 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        369.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        370.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        371.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        372.    The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as


                                                222
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22            Page 223 of 235 Page ID
                                           #:223



 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        373.    The Texas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        374.    The Texas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Texas at Tex. Bus. & Com. Code Ann. § 2.101 et. seq.

        375.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Texas Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        376.    The Texas Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Texas Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

                                                223
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 224 of 235 Page ID
                                            #:224



 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        377.    The Texas Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Texas Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Texas Plaintiffs prior to their acceptance of the Vehicles.

        378.    As a result of the Transmission Defect in the Texas Plaintiffs’ Vehicles, the Texas

 Plaintiffs’ Vehicles cannot be reasonably relied on by the Texas Plaintiffs for the ordinary purpose

 of providing safe, reliable, and efficient transportation.

        379.    Defendant breached this warranty by selling to the Texas Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        380.    As a result of the Transmission Defect in the Texas Plaintiffs’ Vehicles, the Texas

 Plaintiffs have suffered economic damages including, but not limited to, costly repairs, loss of use

 of the vehicle, substantial loss in value and resale value of the vehicles, diminished value of the

 vehicle on the date of sale, and other related damage. The Texas Plaintiffs have provided Ford

 with sufficient opportunities to repair or replace their Vehicles.



                                                  224
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 225 of 235 Page ID
                                            #:225



        381.    As a result of the transmission defects, the Texas Plaintiffs have lost faith and

 confidence in the Vehicles and the Texas Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        382.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        383.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        384.    The Texas Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        385.    The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



                                                 225
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 226 of 235 Page ID
                                            #:226



 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        386.    The Texas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        387.    The Texas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Texas at Tex. Bus. & Com. Code Ann. § 2.101 et. seq.

        388.    Defendant is a “merchant” with respect to motor vehicles under the Texas statute.

        389.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        390.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Texas Plaintiffs.

        391.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        392.    Ford failed to adequately remedy the transmission defects in the Vehicles within a


                                                 226
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22            Page 227 of 235 Page ID
                                           #:227



 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        393.    As a result of Ford’s breaches of implied warranties, the Texas Plaintiffs have

 suffered economic loss and damages. The damages the Texas Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        394.    The Texas Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        395.    The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                      FOURTH CAUSE OF ACTION
  VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES AND CONSUMER
          PROTECTION ACT (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

        396.    The Texas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.




                                                227
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22              Page 228 of 235 Page ID
                                            #:228



        397.    The Texas Plaintiffs are individuals with assets of less than $25 million (or are

 controlled by corporations or entities with less than $25 million in assets). See TEX. BUS. &

 COM. CODE § 17.41.

        398.    The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

 provides a private right of action to a consumer where the consumer suffers economic damage as

 the result of either (i) the use of false, misleading, or deceptive act or practice specifically

 enumerated in TEX. BUS. & COM. CODE § 17.46(b); or (ii) “an unconscionable action or course

 of action by any person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA

 declares several specific actions to be unlawful, including: “(5) Representing that goods or services

 have. sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do

 not have”; “(7) Representing that goods or services are of a particular standard, quality, or grade,

 or that goods are of a particular style or model, if they are of another”; and “(9) advertising goods

 or services with intent not to sell them as advertised.” An “unconscionable action or course of

 action” means “an act or practice which, to a consumer’s detriment, takes advantage of the lack of

 knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.” TEX.

 BUS. & COM. CODE § 17.45(5). As detailed herein, Defendant has engaged in an unconscionable

 action or course of action and thereby caused economic damages to the Texas Plaintiffs.

        399.    Ford violated the Texas DTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,



                                                  228
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22            Page 229 of 235 Page ID
                                             #:229



 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        400.      Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Texas Plaintiffs, and imposed a serious safety risk

 on the public.

        401.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        402.      Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;



                                                  229
Case 2:22-cv-05035-AB-PVC           Document 1 Filed 06/17/22            Page 230 of 235 Page ID
                                            #:230



        d. At the time of the sales or leases to the Texas Plaintiffs, Ford knew or had reason to

            know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Texas

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Texas Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Texas Plaintiffs purportedly waived

            a right, benefit, or immunity provided by law, without clearly stating the waiver and

            obtaining the Texas Plaintiffs’ specific consent to the waiver.

        403.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Texas Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        404.    The Texas Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        405.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.



                                                 230
Case 2:22-cv-05035-AB-PVC          Document 1 Filed 06/17/22             Page 231 of 235 Page ID
                                           #:231



        406.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Texas Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Texas

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        407.    As a result of the Transmission Defects, the Texas Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Texas

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        408.    Pursuant to Tex. Bus. & Com. Code § 17.50, The Texas Plaintiffs seek economic

 damages, additional damages for knowing and intentional violations of the Texas DTPA, mental

 anguish damages, punitive damages, and attorneys’ fees, costs, and any other just and proper relief

 available under the Texas DTPA.

        409.    Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE §

 17.50(b)(3) & (4), the Texas Plaintiffs are also entitled to disgorgement or to rescission or to any

 other relief necessary to restore any money or property that was acquired from them based on

 violations of the Texas DTPA or which the Court deems proper.




                                                 231
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22             Page 232 of 235 Page ID
                                               #:232



                                             LIMITATIONS

              PLAINTIFFS’ CLAIMS ARE TIMELY UNDER LAW OR EQUITY

   ALL STATUTES OF LIMITATIONS ARE TOLLED BY THE TOLLING DOCTRINE
   ESTABLISHED IN AMERICAN PIPE & CONSTRUCTION CO. V. UTAH, 414 U.S. 538
  (1974) AS A RESULT OF THE CLASS ACTION VARGAS V. FORD MOTOR COMPANY

         410.      Plaintiffs gave timely notice of their claims against Ford in the present action as

 putative class members in a class action, Vargas v. Ford Motor Company, United States District

 Court, Central District of California, Case No. 2:12-cv-08388 ABC (FFMx), which was filed on

 September 28, 2012. That action was filed within three years of the date of purchase or lease for

 all Plaintiffs.

         411.      There is no prejudice to Ford in gathering evidence to defend against Plaintiffs’

 individual claims because the class definition in the class action complaint within which Plaintiffs

 were each putative class members and the allegations in the class action lawsuit, Vargas v. Ford

 Motor Company, United States District Court, Central District of California, Case No. 2:12-cv-

 08388 ABC (FFMx) (“Vargus”), put Ford on notice of the facts that give rise to each Plaintiff’s

 individual action, the witnesses necessary for Ford to defend Plaintiffs’ individual actions, and the

 causes of action against Ford asserted in each Plaintiff’s individual action.

         412.      The Vargas Class Plaintiffs alleged the material facts on behalf of Plaintiffs as

 putative class members as are being alleged by Plaintiffs in the present individual action.

         413.      The facts alleged in Vargas are substantially similar, if not identical to the facts

 alleged herein.

         414.      The allegations in Vargas are based on the same subject matter and similar evidence

 as the instant complaint. Those allegations concern the same evidence, memories, and witnesses

 as the subject matter in the instant complaint.



                                                    232
Case 2:22-cv-05035-AB-PVC            Document 1 Filed 06/17/22            Page 233 of 235 Page ID
                                             #:233



         415.    The Vargas class action certainly protected the efficiency and economy of

 litigation because that class action is protecting the rights of thousands of consumers nationwide

 through a single action. Consumer class actions regarding defective vehicles brought against

 manufacturers are regularly certified, making a class action lawsuit an efficient means of pursuing

 such claims.

         416.    The tolling of Plaintiffs’ individual statute of limitations encourages the protection

 of efficiency and economy in litigation as promoted by the class action device, so that putative

 class members would not find it necessary to seek to intervene or to join individually because of

 fear the class might never be certified or putative class members may subsequently seek to request

 exclusion.

         417.    The running of all statute of limitations on each Plaintiff’s claims asserted against

 Ford in the present action were therefore tolled by American-Pipe tolling during the entire

 pendency of Vargas.

 PLAINTIFFS’ CLAIMS WERE TOLLED DURING THE PENDENCY OF CYR V. FORD
    MOTOR COMPANY, CASE NO. 2017-006058-NZ (CIR. CT WAYNE COUNTY,
                            MICHIGAN)

         418.    Plaintiffs previously timely filed their claims on April 20, 2017, in the case of Cyr

 v. Ford Motor Co., Case No. 2017-006058-NZ (Cir. Ct Wayne County, Michigan) (hereinafter,

 “the Cyr Action”). On April 26, 2022, the Cyr Action was dismissed on the basis of forums non

 conveniens, which has at its core, the requirement that an alternate forum exists for Plaintiffs to

 pursue their claims. The statute of limitations was tolled during the pendency of the Cyr Action.

 Plaintiffs also invoke the Delaware savings statute and any other applicable savings statutes in re-

 filing their claims in the instant action.




                                                  233
Case 2:22-cv-05035-AB-PVC              Document 1 Filed 06/17/22           Page 234 of 235 Page ID
                                               #:234



                                     DEMAND FOR JURY TRIAL

         419.    Pursuant to Rule 28(b) of the Federal Rules of Civil Procedure, Plaintiff demands

 a trial by jury of all issues so triable.

                                         PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that the Court award relief as follows:

         A.      Damages for the monetary difference between the Vehicles as warranted and as

                 sold; compensation for the reduction in resale value; the cost of purchasing, leasing,

                 or renting replacement vehicles, along with all other incidental and consequential

                 damages;

         B.      Statutory damages;

         C.      Treble damages;

         D.      Punitive or exemplary damages;

         E.      Out of pocket damages;

         F.      Costs of suit;

         G.      Attorney’s fees incurred in pursuit of Plaintiffs’ claims against Ford, including trial

                 and appeals;

         H.      Pre-judgment and post-judgment interest; and

         I.      All other relief to which they may be justly entitled.

 Dated: June 17, 2022
                                                Respectfully submitted,

                                                /s/ Antranig Garibian
                                                Antranig Garibian, Esquire (Bar No. 4962)
                                                GARIBIAN LAW OFFICES, P.C.
                                                1010 N. Bancroft Parkway, Suite 22
                                                Wilmington, DE 19805
                                                Tel. (302) 722-6885
                                                Email: ag@garibianlaw.com

                                                  234
Case 2:22-cv-05035-AB-PVC         Document 1 Filed 06/17/22          Page 235 of 235 Page ID
                                          #:235




                                             /s/ Eric D. Pearson
                                             Eric D. Pearson
                                             Texas State Bar No. 15690472
                                             eric@hop-law.com
                                             Charles E. Miller
                                             Texas State Bar No. 276523
                                             California State Bar No. 276523
                                             charles@hop-law.com
                                             John W. Pate
                                             Texas State Bar No. 24040092
                                             john@hop-law.com
                                             HEYGOOD, ORR & PEARSON
                                             6363 N. State Highway 161, Suite 450
                                             Irving, Texas 75038
                                             Telephone: (214) 237-9001
                                             Facsimile: (214) 237-9002

                                             Craig Patrick
                                             Texas State Bar No. 00792743
                                             California State Bar No. 255849
                                             craig@patricklaw.com
                                             PATRICK LAW FIRM, P.C.
                                             6244 E. Lovers Ln.
                                             Dallas, TX 75214
                                             Telephone: (214) 390-3343

                                             Kenneth A. Stern
                                             Michigan Bar No. P30722
                                             ken@sternlawonline.com
                                             STERN LAW, PLLC
                                             41850 West Eleven Mile Road, Suite 121
                                             Novi, MI 48375-1857
                                             Telephone: (248) 347-7315

                                             ATTORNEYS FOR PLAINTIFFS


                                DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury.

                                             /s/Eric D. Pearson
                                             Eric D. Pearson




                                               235
